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                              UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY

  TREY GREENE, individually and on behalf
  of all others similarly situated,                Case No. 2:23-cv-01165

                 Plaintiff

  v.

  ZAC PRINCE, FLORI MARQUEZ, TONY
  LAURA, JENNIFER HILL, and GEMINI
  TRADING, LLC,

                  Defendants.


 DECLARATION OF JOSEPH J. DEPALMA IN SUPPORT OF MOTION OF ANTONIE
 ELAS FOR APPOINTMENT AS LEAD PLAINTIFF AND APPROVAL OF SELECTION
                          OF LEAD COUNSEL

        I, Joseph J. DePalma, declare, under penalty of perjury:

        1.      I am a member of the law firm of Lite DePalma Greenberg & Afanador, LLC. I

 submit this Declaration in support of the motion of Antonie Elas for appointment as Lead Plaintiff

 and approval of selection of counsel.

        2.      Attached hereto as Exhibit A is a copy of a press release issued by Squitieri &

 Fearon LLP and Moore Kuehn PLLC, dated March 1, 2023, announcing the filing of a class action

 against above-referenced defendants and noticing that the filing date for appointment as Lead

 Plaintiff is May 1, 2023.

        3.      Attached hereto as Exhibit B is a copy of a press release issued by Lockridge

 Grindal Nauen P.L.L.P., dated March 1, 2023, announcing the filing of a class action against the

 above-referenced defendants Zac Prince and Flori Marquez, as well as other defendants, in the

 U.S. District Court for the District of Massachusetts and noticing that the filing date for

 appointment as Lead Plaintiff is May 1, 2023.


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        4.      Attached hereto as Exhibit C is a copy of the previously-filed certification of Mr.

 Elas in the District of Massachusetts case.

        5.      Attached hereto as Exhibit D is a true and accurate copy of the firm resume of

 Lockridge Grindal Nauen P.L.L.P., proposed Lead Counsel.

        6.      Attached hereto as Exhibit E is a true and accurate copy of the firm resume of

 Gustafson Gluek PLLC, proposed Lead Counsel.


 Dated: May 1, 2023                    Respectfully submitted,

                                       LITE DEPALMA GREENBERG & AFANADOR, LLC

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                                       Stephen J. Teti (pro have vice forthcoming)
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                                       Noah L. Cozad (pro hac vice forthcoming)




                                                 2
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                              Additional Counsel for Plaintiff




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                        EXHIBIT A
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Squitieri & Fearon LLP and Moore Kuehn
PLLC File Class Action Suit Against BlockFi,
Inc. founder Zac Prince, et al.

NEWS PROVIDED BY
Moore Kuehn, PLLC 
Mar 01, 2023, 01:40 ET




NEW YORK, March 1, 2023 /PRNewswire/ -- Squitieri & Fearon LLP and Moore Kuehn PLLC today
filed a class action to represent stockholders of BlockFi, Inc. ("BlockFi") who purchased their
BlockFi unregistered BlockFi Interest Accounts ("BIAs") between March 4, 2019 and November
10, 2022 (the "Class Period").


This class action was filed in the District of New Jersey captioned Trey Greene, Individually and
on Behalf of All Others Similarly Situated v. Zac Prince, et al., Case No. 2:23-cv-01165 ("the
BlockFi action").


The Private Securities Litigation Reform Act of 1995 permits any investor who purchased
BIAs during the Class Period to seek lead plaintiff in the BlockFi class action lawsuit. A lead
plaintiff is generally the movant with the greatest financial interest in the relief sought by the
putative class who is also typical and adequate of the putative class. A lead plaintiff acts on
behalf of all other class members in directing the BlockFi action.


The lead plaintiff can select their law firm to litigate the BlockFi action. An investor's ability to
share in potential future recovery of the BlockFi action is independent upon serving as lead
plaintiff. If you seek lead plaintiff in the BlockFi action, you must move the Court no later than
60 days from February 28, 2023. If you wish to discuss the BlockFi action or have questions

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           this notice, please contact         8-2counsel,
                                       plaintiff's  Filed 05/01/23 Page of
                                                            Lee Squitieri 7 ofSquitieri
                                                                               104 PageID:  268 LLP
                                                                                        & Fearon
at (212) 421-6492 or via e-mail at lee@sfclasslaw.com or Fletcher Moore of Moore Kuehn PLLC at
(212) 709-8245 or via e-mail at fmoore@moorekuehn.com


The BlockFi action charges BlockFi officers with violations of securities laws. The complaint
alleges class members were sold unregistered securities by the crypto company BlockFi, Inc., a
company controlled by Defendants Zac Prince, Flori Marquez, Tony Laura, and Jennifer Hill
(collectively "BFI Defendants"). The unregistered securities sold by the BFI Defendants were
marketed and sold via misrepresentations and material omissions over several years and
through intermittent misrepresentations by Defendant Gemini Trading LLC.


Prince's and Marquez's misrepresentations about BlockFi started to unravel when, among other
things, California's financial regulator revoked BlockFi's lending license for failure to comply
with California loan underwriting standards concerning the creditworthiness of borrowers and
their ability to repay loans. Thereafter, additional disclosures established the extent and
materiality of Prince and Marquez' misrepresentations during the Class Period.


Squitieri & Fearon represents investors in securities litigation. Squitieri & Fearon attorneys are
consistently recognized by courts, organizations and the media as leading lawyers in the
industry. Please visit http://www.sfclasslaw.com.


Contact:


Squitieri & Fearon
Lee Squitieri (212) 421-6492
lee@sfclasslaw.com


or


Moore Kuehn
Fletcher Moore (212) 709-8245
fmoore@moorekuehn.com

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                                          Lockridge Grindal Nauen P.L.L.P
                                          Announces Filing of Class Action
                                          Lawsuit Against BlockFi Individual
                                          Defendants Relating to BlockFi
                                          Interest Accounts
                                          March 01, 2023 19:30 ET | Source: Lockridge Grindal Nauen P.L.L.P.
                                                 Follow




                                          MINNEAPOLIS, March 01, 2023 (GLOBE NEWSWIRE) -- Lockridge Grindal
                                          Nauen P.L.L.P. filed a class action lawsuit against Zac Prince, Flori Marquez,
                                          Amit Cheela, David Olsson, and Samia Bayou, individuals who are or were
                                          officers and directors of BlockFi, Inc. and related BlockFi entities, in the
                                          United States District Court for the District of Massachusetts (Case No. 1:23-
                                          cv-10472), on behalf of all persons or entities in the United States who
                   add_box                invested in BlockFi Interest Accounts (“BIA”). The class period for the federal
                   ...                    securities claims is March 4, 2019 to, and including, November 28, 2022.
                                          BlockFi and their affiliates are presently subject to bankruptcy proceedings
                                          filed in November of 2022 and are not named as defendants in this action.
                                          The case has been assigned to Judge Indira Talwani and is pending in the
                                          John Joseph Moakley U.S. Courthouse for the District of Massachusetts
                                          located at 1 Courthouse Way, Suite 2300, Boston, Massachusetts 02210.

                                          The Complaint alleges that BlockFi, its affiliates, and the BlockFi Individual
                                          Defendants made false and misleading statements to promote BIAs,
                                          including that BIAs were a secure method of collecting interest. In addition,
                                          the Complaint alleges that BlockFi and the BlockFi Individual Defendants
                                          omitted and concealed material information concerning the risks associated
                                          with BIAs. The Complaint further alleges BlockFi and the Individual
                                          Defendants engaged in the unlawful offer and sale of securities in violation
                                          of Sections 5, 11, 12(a)(2), and 15 of the Securities Act of 1933 by selling BIAs to
                                          investors. The lawsuit also alleges claims for violation of Section 10(b) and 20
                                          of the Securities Exchange Act of 1934 and Massachusetts General Law
                                          Chapter 110A.




https://www.globenewswire.com/en/news-release/2023/03/02/2618856/2262/en/Lockridge-Grindal-Nauen-P-L-L-P-Announces-Filing-of-Class-Action-Lawsuit-Against-BlockFi-Individual-Defendants-Relating-to-BlockFi…   1/3
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                                          If you invested in BIAs between March 4, 2019 and November 28, 2022, you
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                                          may move the Court to serve asa lead
                                                                              US
                                                                                plaintiff for the Class on or before
                                          May 1, 2023. Any member of the proposed class may move the Court to serve
                                          as lead plaintiff through counsel of their choice. You do not need to be a
                                          lead plaintiff to share in any recovery that may be obtained.

                                          If you have any questions concerning this notice or your rights with respect
                                          to this matter, please contact:

                                                 Gregg M. Fishbein, Esq.
                                                 Stephen J. Teti, Esq.
                                                 Lockridge Grindal Nauen P.L.L.P.
                                                 100 Washington Avenue South, Suite 2200
                                                 Minneapolis, MN 55401
                                                 Tel: (612) 339-6900
                                                 Email: gmfishbein@locklaw.com
                                                 Email: sjteti@locklaw.com




                                          Tags

                                            CLASS ACTION LAWSUITS                    BlockFi         BIA         Class Action




                   Explore




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Cryptocurrency   Amount       Transaction Type   Confirmed At
BUSD              268.1070542 Interest Payment    10/31/2022 23:59
USDC              268.5046636 Interest Payment    10/31/2022 23:59
GUSD              1302.804107 Interest Payment    10/31/2022 23:59
DAI               195.5362625 Interest Payment    10/31/2022 23:59
PAX                325.759837 Interest Payment    10/31/2022 23:59
USDC              258.6017091 Interest Payment     9/30/2022 23:59
PAX               313.7452047 Interest Payment     9/30/2022 23:59
BUSD              258.2187642 Interest Payment     9/30/2022 23:59
DAI               188.6196084 Interest Payment     9/30/2022 23:59
GUSD              1254.754253 Interest Payment     9/30/2022 23:59
PAX               322.6029765 Interest Payment     8/31/2022 23:59
DAI               194.2587794 Interest Payment     8/31/2022 23:59
GUSD              1290.178945 Interest Payment     8/31/2022 23:59
BUSD               265.508893 Interest Payment     8/31/2022 23:59
USDC              265.9026494 Interest Payment     8/31/2022 23:59
DAI               193.6127856 Interest Payment     7/31/2022 23:59
PAX               321.0104755 Interest Payment     7/31/2022 23:59
USDC              264.5900443 Interest Payment     7/31/2022 23:59
BUSD              264.1982316 Interest Payment     7/31/2022 23:59
GUSD               1283.81009 Interest Payment     7/31/2022 23:59
GUSD              1048.061007 Interest Payment     6/30/2022 23:59
PAX               271.3175589 Interest Payment     6/30/2022 23:59
BUSD              225.4839945 Interest Payment     6/30/2022 23:59
USDC              225.8000913 Interest Payment     6/30/2022 23:59
DAI               186.7641702 Interest Payment     6/30/2022 23:59
BUSD              232.0366514 Interest Payment     5/31/2022 23:59
GUSD              1078.518089 Interest Payment     5/31/2022 23:59
USDC              232.3619344 Interest Payment     5/31/2022 23:59
DAI               230.8331136 Interest Payment     5/31/2022 23:59
PAX               279.2021581 Interest Payment     5/31/2022 23:59
BUSD              248.1298509 Interest Payment     4/30/2022 23:59
DAI                 246.74496 Interest Payment     4/30/2022 23:59
PAX               302.4024096 Interest Payment     4/30/2022 23:59
USDC              248.5041486 Interest Payment     4/30/2022 23:59
GUSD              1222.161865 Interest Payment     4/30/2022 23:59
DAI               286.7821882 Interest Payment     3/31/2022 23:59
PAX               353.2061406 Interest Payment     3/31/2022 23:59
USDC              288.8816781 Interest Payment     3/31/2022 23:59
GUSD              1450.885942 Interest Payment     3/31/2022 23:59
BUSD              288.4349756 Interest Payment     3/31/2022 23:59
PAX               348.4650963 Interest Payment     2/28/2022 23:59
GUSD              1436.342819 Interest Payment     2/28/2022 23:59
USDC              284.7150396 Interest Payment     2/28/2022 23:59
BUSD               284.272326 Interest Payment     2/28/2022 23:59
DAI               282.6342977 Interest Payment     2/28/2022 23:59
PAX               411.6445775 Interest Payment     1/31/2022 23:59
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BUSD           338.8381267 Interest Payment    1/31/2022 23:59
DAI            336.9803004 Interest Payment    1/31/2022 23:59
USDC           339.3402454 Interest Payment    1/31/2022 23:59
GUSD           1193.674667 Interest Payment    1/31/2022 23:59
GUSD                 12500 Ach Deposit          1/20/2022 0:23
GUSD                 12500 Ach Deposit          1/20/2022 0:22
GUSD                 12500 Ach Deposit          1/19/2022 1:31
GUSD                 12500 Ach Deposit          1/19/2022 1:30
GUSD                 12500 Ach Deposit         1/11/2022 19:08
GUSD                 12500 Ach Deposit         1/11/2022 19:07
GUSD                 12500 Ach Deposit         1/10/2022 18:30
GUSD                 12500 Ach Deposit         1/10/2022 18:29
GUSD                 12500 Ach Deposit           1/8/2022 7:28
GUSD                 12500 Ach Deposit           1/8/2022 7:27
GUSD                 12500 Ach Deposit           1/7/2022 9:36
GUSD                 12500 Ach Deposit           1/7/2022 9:35
GUSD                 12500 Ach Deposit           1/6/2022 6:43
GUSD                 12500 Ach Deposit           1/6/2022 6:42
GUSD                 12500 Ach Deposit           1/5/2022 1:19
GUSD                 12500 Ach Deposit           1/5/2022 1:18
DAI            334.7849839 Interest Payment   12/31/2021 23:59
USDC           337.1295548 Interest Payment   12/31/2021 23:59
GUSD           334.7878251 Interest Payment   12/31/2021 23:59
PAX            408.9628478 Interest Payment   12/31/2021 23:59
BUSD           336.6307072 Interest Payment   12/31/2021 23:59
BUSD           323.7173859 Interest Payment   11/30/2021 23:59
PAX            393.2748297 Interest Payment   11/30/2021 23:59
GUSD           321.9451977 Interest Payment   11/30/2021 23:59
USDC           324.1970976 Interest Payment   11/30/2021 23:59
DAI            321.9424656 Interest Payment   11/30/2021 23:59
DAI            274.3732176 Interest Payment   10/31/2021 23:59
PAX            228.1155811 Interest Payment   10/31/2021 23:59
GUSD            273.970181 Interest Payment   10/31/2021 23:59
USDC           276.3288033 Interest Payment   10/31/2021 23:59
BUSD           275.8263571 Interest Payment   10/31/2021 23:59
GUSD                 -5000 Trade              10/29/2021 18:03
BUSD                  5000 Trade              10/29/2021 18:03
GUSD                 -5000 Trade              10/29/2021 18:02
USDC                  5000 Trade              10/29/2021 18:02
GUSD                 -5000 Trade              10/29/2021 18:00
DAI            4935.338722 Trade              10/29/2021 18:00
GUSD                  1000 Ach Deposit        10/29/2021 17:58
GUSD                 19000 Ach Deposit        10/29/2021 17:57
GUSD                -25000 Trade              10/28/2021 20:55
PAX                  25000 Trade              10/28/2021 20:55
GUSD                 25000 Ach Deposit        10/28/2021 16:24
PAX            192.3113784 Interest Payment    9/30/2021 23:59
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DAI            255.8732179 Interest Payment   9/30/2021 23:59
GUSD           255.5244244 Interest Payment   9/30/2021 23:59
BUSD           252.4154748 Interest Payment   9/30/2021 23:59
USDC           257.6273341 Interest Payment   9/30/2021 23:59
GUSD                -15000 Trade               9/1/2021 22:06
PAX                  15000 Trade               9/1/2021 22:06
GUSD                   5000 Ach Deposit        9/1/2021 22:04
GUSD                 10000 Ach Deposit         9/1/2021 22:03
GUSD                  -8000 Trade               9/1/2021 1:39
PAX                    8000 Trade               9/1/2021 1:39
USDC                  -8350 Trade               9/1/2021 1:39
PAX                    8350 Trade               9/1/2021 1:39
USDC                  -1300 Trade               9/1/2021 1:37
BUSD                   1300 Trade               9/1/2021 1:37
GUSD                  -2000 Trade               9/1/2021 1:35
BUSD                   2000 Trade               9/1/2021 1:35
DAI           -404.8977345 Trade                9/1/2021 1:33
BUSD                    400 Trade               9/1/2021 1:33
USDC                   -547 Trade               9/1/2021 1:31
BUSD                    547 Trade               9/1/2021 1:31
GUSD                   -895 Trade               9/1/2021 1:30
BUSD                    895 Trade               9/1/2021 1:30
DAI           -10123.45447 Trade                9/1/2021 1:26
BUSD                 10000 Trade                9/1/2021 1:26
BUSD           139.1158902 Interest Payment   8/31/2021 23:59
USDC           309.5115944 Interest Payment   8/31/2021 23:59
GUSD           311.0010841 Interest Payment   8/31/2021 23:59
DAI            320.4950468 Interest Payment   8/31/2021 23:59
GUSD                 248.82 Bonus Payment     8/13/2021 23:59
DAI           -25294.48712 Trade                8/3/2021 0:20
BUSD                 25000 Trade                8/3/2021 0:20
USDC           238.4843834 Interest Payment   7/31/2021 23:59
GUSD           335.7786315 Interest Payment   7/31/2021 23:59
DAI            487.5964498 Interest Payment   7/31/2021 23:59
DAI           -50462.75507 Trade               7/7/2021 17:19
USDC                 50000 Trade               7/7/2021 17:19
GUSD                  -5000 Trade              7/4/2021 18:51
DAI             4946.96884 Trade               7/4/2021 18:51
GUSD                   5000 Ach Deposit        7/4/2021 18:49
GUSD                -50000 Trade                7/2/2021 2:15
DAI            49472.40696 Trade                7/2/2021 2:15
GUSD                 20000 Ach Deposit          7/2/2021 2:08
GUSD             -71880.39 Trade                7/2/2021 2:08
DAI            71122.20243 Trade                7/2/2021 2:08
GUSD           1022.937498 Interest Payment   6/30/2021 23:59
GUSD           619.8497549 Interest Payment   5/31/2021 23:59
GUSD                   5000 Ach Deposit        5/29/2021 5:30
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GUSD                  5000 Ach Deposit         5/28/2021 4:25
GUSD                  5000 Ach Deposit         5/27/2021 4:07
GUSD                  5000 Ach Deposit         5/26/2021 4:29
GUSD                  5000 Ach Deposit         5/25/2021 4:05
GUSD                  5000 Ach Deposit         5/24/2021 6:58
GUSD                  5000 Ach Deposit         5/23/2021 4:30
GUSD                  5000 Ach Deposit         5/22/2021 6:15
GUSD                  5000 Ach Deposit         5/21/2021 5:56
GUSD                  5000 Ach Deposit        5/20/2021 18:32
GUSD                  5000 Ach Deposit         5/19/2021 4:09
GUSD                 -5000 Ach Return         5/18/2021 22:20
GUSD                  5000 Ach Deposit        5/18/2021 15:36
GUSD                  5000 Ach Deposit         5/18/2021 3:30
GUSD                  5000 Ach Deposit         5/17/2021 2:47
GUSD                  5000 Ach Deposit        5/15/2021 21:55
GUSD                  5000 Ach Deposit        5/14/2021 14:12
GUSD                  5000 Ach Deposit         5/13/2021 4:57
GUSD                  5000 Ach Deposit         5/12/2021 4:12
GUSD                  5000 Ach Deposit         5/11/2021 4:09
GUSD                  5000 Ach Deposit         5/10/2021 3:22
GUSD                  5000 Ach Deposit          5/9/2021 2:46
GUSD           237.4731507 Interest Payment   4/30/2021 23:59
GUSD                  5000 Ach Deposit        4/14/2021 18:24
GUSD                  5000 Ach Deposit        4/13/2021 18:07
GUSD                  5000 Ach Deposit        4/12/2021 16:59
GUSD                  5000 Ach Deposit        4/11/2021 16:15
GUSD                  5000 Ach Deposit        4/10/2021 16:10
GUSD                  5000 Ach Deposit         4/9/2021 16:04
GUSD                  5000 Ach Deposit         4/8/2021 15:22
GUSD                  5000 Ach Deposit         4/7/2021 15:09
GUSD                  5000 Ach Deposit         4/6/2021 14:58
GUSD                  -127 Ach Withdrawal       4/5/2021 7:01
GUSD           26.69684457 Interest Payment   3/31/2021 23:59
GUSD                  5000 Ach Deposit         3/8/2021 23:18
GUSD            0.42945187 Interest Payment   2/28/2021 23:59
GUSD                   100 Ach Deposit         2/9/2021 23:13
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                       LOCKRIDGE GRINDAL NAUEN P.L.L.P.

             For more than 40 years, Lockridge Grindal Nauen P.L.L.P. has served clients throughout
  the Midwest and in Washington, D.C. Our attorneys and lobbyists have extensive experience in
  local, state, and federal government relations as well as antitrust, business, campaign finance,
  consumer, data breach, governmental, health care, employment, environmental, ERISA,
  intellectual property, real estate, securities, and tribal law and litigation.
             Our firm represents clients of all shapes and sizes, taking the time to understand each
  client’s goals and aspirations before tailoring our representation to meet their individual needs,
  whether they be in the courtroom, the halls of Congress, city hall, or in their state capitol.
             Our clients include local and tribal governments, health care professionals and
  organizations, real estate developers, energy companies, telecommunications providers, casualty
  insurers, trade and industry associations, health and pension funds, unions, as well as issue-based
  coalitions.
             Lockridge Grindal Nauen’s attorneys and government relations professionals are assisted
  by an extensive support staff. The firm has offices in Minneapolis, Minnesota, Bismarck, North
  Dakota, and Washington, D.C.




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                                             Cases
  The firm has served or serves as Lead or Co-Lead counsel in several prominent cases in
  Minnesota:
     • In re Target Corporation Customer Data Security Breach Litigation, No. 14-02522 (D.
         Minn.)
     • In re EpiPen ERISA Litigation, No. 17-1884 (D. Minn.)
     • Judith Thorkelson, et al. v. Publishing House of the Evangelical Lutheran Church in
         America, et al., Court File 10-01712 (D. Minn.)
     • Peterson v. BASF Corp., Civil No. C2-97-295 (Norman County District Court, Minn.)
     • In Re Baycol Products Litig., MDL No. 1431 (D. Minn.)
     • In re Beef Purchasers Antitrust Litig. (aka Peterson v. JBS USA Food Co. Holdings et
         al.) No. 19-cv-01129 (D.Minn)
     • Benacquisto, et al. v. American Express Financial Corp. et al., Master File No. 00-1980
         (D. Minn.), Civil Action No. 96-18477 (Henn. Cty. Dist. Ct.) (insurance class action)
     • In Re HardiePlank Fiber Cement Siding Litig., MDL No. 2359 (D. Minn.)
     • In Re Lutheran Brotherhood Variable Insurance Products Co. Sales Practices Litig.,
         MDL No. 1309 (D. Minn.)
     • In Re Monosodium Glutamate Antitrust Litig., MDL No. 1328 (D. Minn.)
     • In re Netgain Technology, LLC Consumer Data Breach Litigation, No. 21-cv-01210 (D.
         Minn.)
     • In Re Northstar Education Finance, Inc. Contract Litig., MDL 08-1990 (D. Minn.)
     • In Re Piper Funds, Inc. Institutional Government Income Portfolio Litig., Master File
         No. 3-94-587 (D. Minn)
     • In re Pork Antitrust Litig., No. 18-cv-01776 (D. Minn)

  In other District Courts, Lockridge Grindal Nauen served or serves as Lead or Co-Lead
  Counsel in the following cases, among others:

     •   In re Arby’s Restaurant Group, Inc. Data Security Litigation, No. 17-00514 (N.D. Ga.)
     •   In re Broiler Chicken Antitrust Litig., No. 16-cv-08737 (N.D. Ill.)
     •   In re: Capital One Consumer Data Security Breach Litigation, No. 19-md-02915 (E.D.
         Va.)
     •   In Re Catfish Antitrust Litig., MDL No. 928 (N.D. Miss.)
     •   In Re CertainTeed Corp. Roofing Shingle Products Liability Litig., MDL 1817 (E.D. Pa.)
     •   In re: Community Health Systems, Inc., Customer Security Data Breach Litig., No. 15-
         00222-KOB (N.D. Ala.)
     •   D&M Farms et al. v. Birdsong Corp. et al, No. 19-cv-0463 (E.D. Va.)
     •   In re: FedLoan Student Loan Servicing Litigation, No. 18-02833 (E.D. Pa)
     •   In re Freight Forwarders Antitrust Litigation (Precision Associates, Inc. v. Panalpina
         World Transport (Holding) Ltd. et al.) No. 08-cv-42 (E.D.N.Y.)
     •   George Guenther, et al. v. Cooper Life Sciences, et al. (Cooper Life Sciences Securities
         Litig.), No. C 89-1823 MHP (N.D. Cal.)
     •   Greater Chautauqua Federal Credit Union, et al. v. Kmart Corp. et al., No. 15-02228
         (N.D. Ill.)
     •   Holmes v. Elephant Insurance Co. et al., No 22-cv-487 (E.D. Va.)
     •   In Re IKO Roofing Shingle Products Liability Litig., MDL No. 2104 (C.D. Ill.)

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     •   In Re Kitec Plumbing Systems Products Liab. Litig. MDL No. 2098 (N.D. Tex.)
     •   Meyers v. The Guardian Life Insurance Company of America, Inc. Litig., Civil No.
         2:97CV35-D-B (N.D. Miss.)
     •   Olean Wholesale Grocery Cooperative, et al. v Agri Stats, Inc. et al., No. 19-cv-08318
         (N.D. Ill.)
     •   In Re Polypropylene Carpet Antitrust Litig., MDL No. 1075 (N.D. Ga.)
     •   In Re: Potash Antitrust Litigation (II), MDL No. 1996 (N.D. Ill.)
     •   In Re Residential Doors Antitrust Litig., MDL No. 1039 (E.D. Pa.)
     •   Gary G. Smith, et al. v. Little Caesar Enterprises, Inc., et al. (Little Caesar Franchise
         Litig.), Civil No. 93 CV 74041 DT (E.D. Mich.)
     •   In re Surescripts Antitrust Litig., No. 19-cv-06627 (N.D. Ill.)
     •   In re Turkey Antitrust Litig., No. 19-08318 (N.D. Ill.)
     •   In Re Unisys Savings Plan Litig., Master File No. 91-3067 (E.D. Pa.)


         LGN Partner Gregg Fishbein and Senior Counsel Stephen Teti will be the principal
  attorneys at LGN responsible for this case. LGN will staff the case will as many additional
  attorneys and staff members as needed, bringing in team members with expertise in legal briefing,
  e-discovery, and deposition-taking as the case develops. A brief summary of Mr. Fishbein ’s and
  Mr. Teti’s credentials and experience are as follows. More information on LGN, its representative
  cases, and its team can be found at www.locklaw.com.




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                                         Gregg M. Fishbein

         Gregg M. Fishbein is a partner in LGN and specializes in class action and other complex
  commercial litigation. For over thirty years of practice, he has been continuously active in class
  and complex litigation, including representation of plaintiff classes. He was on the trial team in
  Rainforest Café, Inc. v. State of Wisconsin Investment Board, et al., a shareholder rights action
  tried in the State Court of Minnesota on behalf of the Sate of Wisconsin Investment Board,
  Central Florida Investments, and 70 other former investors in the Rainforest Café. Mr. Fishbein
  was also part of the team that assisted plaintiffs’ lead counsel in the In re WorldCom Securities
  Litigation, a case that settled for over $6.1 billion. Mr. Fishbein is currently representing
  shareholders of Johnson Controls, Inc. who were required to pay significant capital gains taxes as
  a result of tax inversion with an Irish entity. He is also involved in a class action on behalf of
  victims of the TelexFree Ponzi scheme. He represents a number of institutional entities that are
  involved in proceedings under Minnesota’s Trust Instruction Proceedings statute.
                                         Representative Cases
     •   In re Regions Morgan Keegan Securities, Derivative and ERISA Litigation,
     •   MDL No. 2009 (W.D. Tenn) – securities class action and derivative action resulting in
         recover of $125 million for the class.
     •   In re Target Corporate Customer Data Breach Security Litigation, MDL No. 2522 (D.
         Minn.)
     •   Turnridge et al v. TruGreen Limited Partnership, No. 27-cv-14-14711 (Henn. Cty. Dist.
         Ct.)
     •   In re American Express Financial Advisors Securities Litigation, No. 04-cv1773
         (S.D.N.Y.) – securities class action which resulted in recover of $100 million for the
         class.
     •   In re AOL Time Warner Securities Litigation, MDL No. 1500 (S.D.N.Y.) – securities
         class action which resulted in recovery of $2.65 billion for the class.
     •   In re OM Group, Inc. Securities Litigation, No. 02-2163 (N.D. Ohio) – securities class
         action which resulted in recover of $92.4 million for the class.
     •   Ohio Public Employees Retirement System, et al. v. Freddie Mac, et al., MDL No. 1584
         (S.D.N.Y.) (Federal Home Loan Mortgage Corporation Securities Litigation) – securities
         class action which resulted in recovery of $410 million for the class.
     •   In re Countrywide Financial Corporation Securities Litigation, No. 07-05295 (C.D. Cal.)
         – securities class action which resulted in recovery of $624 million for the class.
     •   In re Worldcom, Inc. Securities Litigation, No. 02-3288 (S.D.N.Y.) – securities class
         action which resulted in recovery of $6.13 billion of the class.




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                                            Stephen J. Teti

         Stephen Teti serves as Senior Counsel at LGN, bringing over a decade of experience
  litigating complex, class cases in a variety of practice areas, including antitrust and securities. Mr.
  Teti is a magna cum laude graduate of the Quinnipiac University School of Law, where he served
  on the Quinnipiac Law Review, and a cum laude graduate of Fairfield University. Mr. Teti’s
  antitrust matters include: In re Broiler Chicken Antitrust Litig., No. 16-CV-8637 (N.D. Ill.); Jien
  v. Perdue Farms, Inc., et al., No. 19-CV-2521 (D. Md.) (Poultry wage fixing case); In re Local
  TV Advertising Antitrust Litig., No. 18-CV-6785 (N.D. Ill.); and In re Thalomid & Revlimid
  Antitrust Litig., No. 14-CV-6997 (D.N.J.). Mr. Teti also has substantial securities class experience,
  including City of Birmingham Ret. & Relief Sys. v. MetLife, Inc., No. 01-cv-2012-902101 (Ala.
  Cir. Ct.) ($9.75 million settlement in Securities Act of 1933 action); Niitsoo v. Alpha Natural Res.,
  Inc., No. AD-303-2014 (Pa. Ct. Com. Pleas) ($3.6 million settlement in Securities Act of 1933
  action); Rubenstein v. Oilsands Quest, Inc., No. 11-cv-288 (S.D.N.Y.) ($10.235 million securities
  fraud settlement).




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                              Firm Resume




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                                  Firm Overview
  Gustafson Gluek PLLC is a 19-attorney law firm with a national practice
  specializing in complex litigation. The firm has offices in Minneapolis, Minnesota
  and San Diego, California. Gustafson Gluek attorneys seek to vindicate the rights
  of, and recover damages for, those harmed by unfair business practices, such
  as illegal price fixing, deceptive trade practices, and the distribution of unsafe
  medical devices, as well as enjoin companies from engaging in these types of
  practices in the future.

  Founded in 2003, Gustafson Gluek’s attorneys have consistently been
  recognized by their clients, peers, and courts across the country as leaders in
  their fields. They have been chosen to lead some of the largest and most
  complex multi-district litigations. Attorneys at Gustafson Gluek have received
  national and state-wide awards and honors and are routinely called upon by
  other leading firms to assist in taking on some of the largest companies and
  defense firms in the world. Gustafson Gluek was named number six in the Top 25
  Lead Counsel in antitrust complaints filed from 2009 – 2021 in the 2021 Antitrust
  Annual Report produced by the University of San Francisco Law School and The
  Huntington National Bank. Gustafson Gluek was also listed as number seventeen
  in the list of firms with the highest number of antitrust settlements.

  Gustafson Gluek strongly believes in giving back to the community and
  promoting diversity in the legal profession. Its attorneys have held leadership
  positions and actively participate in numerous national, state and affinity legal
  organizations, including the Federal Bar Association, Minnesota State Bar
  Association, the Infinity Project, Minnesota Women Lawyers, Minnesota
  Association of Black Lawyers, the Lavender Bar Association and American
  Antitrust Institute. Gustafson Gluek was instrumental in founding the Pro Se
  Project, a collaboration with the Minnesota District Court pairing indigent federal
  litigants with attorneys and Gustafson Gluek devotes hundreds of hours each
  year to pro bono service through the Pro Se Project and other organizations.




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                            Leadership Positions

  Gustafson Gluek’s attorneys are frequently recognized by their peers and the
  courts as experienced and capable leaders and, as such, have been
  appointed to lead numerous complex litigations including the following:

  Hogan v. Amazon, Inc. (N.D. Ill.)
  Co-Lead Counsel

  In re 3M Combat Arms Earplug Litig. (Minn.)
  Co-Lead Counsel

  In re Broiler Chicken Antitrust Litig. (N.D. Ill.)
  Co-Lead Counsel for Commercial and Institutional Indirect Purchaser
  Plaintiffs

  In re CenturyLink Residential Customer Billing Disputes Litig. (D. Minn.)
  Executive Committee Chair

  In re Crop Inputs Antitrust Litig. (E.D. Mo.)
  Co-Lead Counsel

  In re Dealer Management Systems Antitrust Litig. (N.D. Ill.)
  Plaintiffs’ Steering Committee

  In Re: Deere & Company Repair Services Antitrust Litig. (N.D. Ill.)
  Co-Lead Counsel

  In re DPP Beef Litig. (D. Minn.)
  Co-Lead Counsel

  In re DRAM Antitrust Litig. (N.D. Cal. and multiple state court actions)
  Co-Lead Counsel for Indirect Purchasers

  In re Flash Memory Antitrust Litig. (N.D. Cal.)
  Plaintiffs’ Steering Committee


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  In re Google Digital Publisher Antitrust Litig. (N.D. Cal.)
  Plaintiffs’ Leadership Committee

  In re Interior Molded Doors Indirect Purchaser Antitrust Litig. (E.D. Va.)
  Co-Lead Counsel

  In re Medtronic, Inc. Implantable Defibrillators Products Liability Litig. (D.
  Minn.)
  Co-Lead Counsel

  In re Medtronic, Inc. Sprint Fidelis Leads Products Liability Litig. (D. Minn.)
  Lead Counsel

  In re Net Gain Data Breach Litig. (D. Minn.)
  Executive Committee

  In re Pork Antitrust Litig. (D. Minn.)
  Co-Lead Counsel for Consumer Indirect Purchaser Plaintiffs

  In re Syngenta Litig. (Minn.)
  Co-Lead Class Counsel

  In re Vitamin C Antitrust Litig. (E.D.N.Y.)
  Co-Lead Counsel for Indirect Purchasers

  Precision Assocs., Inc. v. Panalpina World Transport (Holding) Ltd. (E.D.N.Y.)
  Co-Lead Counsel

  Powell Prescription Center v. Surescripts, LLC (N.D. Ill.)
  Lead Counsel Committee

  St. Barnabas Hospital, Inc. et al. v. Lundbeck, Inc. et al. (D. Minn.)
  Interim Class Counsel

  Vikram Bhatia, D.D.S., et al., v. 3M Company (D. Minn.)
  Co-Lead Counsel



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                                Case Outcomes
  Gustafson Gluek has recovered billions of dollars on behalf of its clients since
  founding in 2003. Gustafson Gluek has helped vindicate the rights of, and
  recover damages for, those harmed by unfair business practices such as illegal
  price fixing, deceptive trade practices, and the distribution of unsafe or
  defective devices, as well as enjoin companies from engaging in these types of
  practices in the future. A list of representative cases the Firm previously litigated
  and the outcomes of those cases is set forth below.


                                       ANTITRUST

  In re Automotive Parts Antitrust Litig. (E.D. Mich.)
  Gustafson Gluek was an integral part of the team representing a class of indirect
  purchases of various automotive components. Plaintiffs alleged that the
  defendants engaged in a sprawling price fixing conspiracy to artificially increase
  the price of several different automobile components. Gustafson Gluek helped
  recover over $1.2 billion for the class.


  In Re Blue Cross Blue Shield Antitrust Litig. (N.D. Ala.)
  Gustafson Gluek was appointed as members of the Damages and Litigation
  Committees representing a class of subscribers of Blue Cross Blue Shield
  Alabama. Plaintiffs alleged antitrust violations by the defendant. The parties
  reached a settlement that established a $2.67 billion Settlement Fund. Settling
  Defendants also agreed to make changes in the way they do business that
  Plaintiffs believe will increase the opportunities for competition in the market for
  health insurance.


  In re Capacitors Antitrust Litig. (N.D. Cal.)
  Gustafson Gluek represented a class of indirect purchasers of electrolytic or film
  capacitors. Plaintiffs alleged that at least fifteen multinational corporations
  conspired to fix the prices of capacitors that they manufactured and sold
  worldwide and into the United States. Gustafson Gluek attorneys worked closely
  gustafsongluek.com               Gustafson Gluek PLLC                      4|Page
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  with Lead Counsel throughout the litigation, which eventually recovered $84.49
  million for the class.


  In re Containerboard Antitrust Litig. (N.D. Ill.)
  Gustafson Gluek represented a class of direct purchasers of containerboard
  products and was a defendant team leader. Plaintiffs alleged that defendant
  containerboard manufacturers conspired to fix the price of containerboard. As
  a team leader, Gustafson Gluek handled all aspects of discovery, including the
  depositions of several senior executives. Gustafson Gluek helped to secure over
  $376 million for the class.


  In re Cathode Ray Tube (CRT) Antitrust Litig. (N.D. Cal.)
  Gustafson Gluek represented a class of direct purchasers of CRT screens used for
  computer monitors and televisions. Plaintiffs alleged that defendants conspired
  to fix the price of these products in violation of the antitrust laws. Gustafson
  Gluek had a significant discovery role in the prosecution of this antitrust class
  action, which resulted in settlements totaling $225 million for the class.


  In re DRAM Antitrust Litig. (N.D. Cal. and multiple state court actions)
  Gustafson Gluek was appointed Co-Lead Counsel for the indirect purchasers in
  this nationwide class action against both national and international memory-
  chip manufacturers. This case dealt with the conspiracy surrounding the pricing
  of the memory chips commonly known as Dynamic Random Access Memory (or
  DRAM). DRAM is used in thousands of devices on a daily basis, and Gustafson
  Gluek was integral in achieving a settlement of $310 million for the class.


  In re Domestic Drywall Antitrust Litig. (E.D. Pa.)
  Gustafson Gluek represented a class of direct purchasers of drywall in this
  antitrust case. Plaintiffs alleged that the defendant manufacturers conspired to
  artificially increase the price of drywall. Gustafson Gluek played an active role
  in the litigation. A class was certified, and Gustafson Gluek helped recover over
  $190 million for the class.


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  In re Lithium Ion Batteries Antitrust Litig. (N.D. Cal.)
  Gustafson Gluek represented a class of direct purchasers of lithium ion batteries
  in a multidistrict class action. Plaintiffs alleged collusive activity by the world’s
  largest manufacturers of lithium ion batteries, which are used in everything from
  cellular phones to cameras, laptops and tablet computers. Gustafson Gluek
  had a significant discovery role in the prosecution of this antitrust class and
  helped recover over $139 million for the class.


  In re Interior Molded Doors Indirect Purchaser Antitrust Litig. (E.D. Va.)
  Gustafson Gluek served as Co-Lead Counsel with two other firms representing a
  class of indirect purchasers of interior molded doors. Plaintiffs alleged that two of
  the country’s largest interior molded door manufacturers conspired to inflate
  prices in the market. Defendants settled with the class for $19.5 million.


  Precision Associates, Inc., et al. v. Panalpina World Transport (Holding)
  Ltd., et al. (E.D.N.Y.)
  Gustafson Gluek was Co-Lead Counsel representing a class of direct purchasers
  of freight forwarding services in this international case against 68 defendants.
  Plaintiffs alleged that defendants engaged in an international conspiracy to fix,
  inflate, and maintain various charges and surcharges for freight forwarding
  services in violation of U.S. antitrust laws. Gustafson Gluek worked to secure over
  $450 million for the class.


  In re Resistors Antitrust Litig. (N.D. Cal.)
  Gustafson Gluek worked closely with Lead Counsel representing indirect
  purchasers of linear resistors. Plaintiffs alleged that the defendant manufacturers
  conspired to increase the price of linear resistors, thereby causing indirect
  purchasers to pay more. After engaging in extensive discovery, Plaintiffs
  recovered a total of $33.4 million in settlements for the indirect purchaser class.




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  In re TFT-LCD (Flat Panel) Antitrust Litig. (N.D. Cal.)
  Gustafson Gluek served an integral role handling complex discovery issues in this
  antitrust action representing individuals and entities that purchased LCD panels
  at supracompetitive prices. Gustafson Gluek attorneys worked on a range of
  domestic and foreign discovery matters in prosecuting this case. The total
  settlement amount with all of the defendants was over $1.1 billion.


  The Shane Group, Inc., et al. v. Blue Cross Blue Shield of Michigan
  (E.D. Mich.)
  Gustafson Gluek was appointed interim Co-Lead Counsel representing a class of
  purchasers of hospital healthcare services. Plaintiffs alleged that defendant Blue
  Cross Blue Shield of Michigan used its market position to negotiate contracts
  with hospitals that impeded competition and increased prices for patients.
  Gustafson Gluek worked to secure $30 million on behalf of the class.


                             CONSUMER PROTECTION

  Baldwin et al. v. Miracle Ear et al. (D. Minn.)
  Gustafson Gluek represented consumers who received unwanted telemarketing
  calls from HearingPro for sale of Miracle Ear brand hearing aid products in
  violation of the Telephone Consumer Protection Act. Gustafson Gluek played an
  important role in recovering an $8 million settlement for the class.


  Syngenta Corn Seed Litig. (Minn. & D. Kan.)
  Gustafson Gluek was appointed Co-Lead Counsel for the class of Minnesota
  corn farmers suing Syngenta for negligently marketing its Agrisure/Viptera corn
  seed before it had been approved in all of the major corn markets. Gustafson
  Gluek was an integral part of the litigation team in Minnesota, participating in all
  facets of discovery, motion practice and expert work. Dan Gustafson was one
  of the lead trial counsel and was also appointed as part of the settlement team.
  Ultimately, these cases settled for $1.51 billion on behalf of all corn farmers in
  America.

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  In re Centurylink Sales Practices and Securities Litig. (D. Minn.)
  Gustafson Gluek was Chair of the Executive Committee and represented a class
  of current and former CenturyLink customers who paid too much for their
  phone, internet or television services due to CenturyLink’s unlawful
  conduct. Plaintiffs alleged that CenturyLink engaged in deceptive marketing,
  sales, and billing practices across the dozens of states. Ultimately, Plaintiffs
  recovered $18.5 million in settlements for the class.


  Yarrington, et al. v. Solvay Pharmaceuticals, Inc. (D. Minn.)
  Gustafson Gluek represented a class of individuals alleging unfair competition
  and false and deceptive advertising claims against Solvay Pharmaceuticals in
  the marketing of Estratest and Estratest HS, prescription hormone therapy drugs.
  Gustafson Gluek helped recover $16.5 million for the class.


                                    DATA BREACH


  In re Equifax Inc. Customer Data Security Breach Litig. (N.D. Ga.)
  Gustafson Gluek represented a class of individuals whose personal information
  was impacted as the result of the Equifax’s deficient data security practices.
  Plaintiffs reached a settlement where Equifax agreed to pay $380 million
  towards the fund for class benefits and an additional $125 million for out-of-
  pocket losses in addition to credit monitoring and identity restoration services.


  Landwehr v. AOL Inc. (E.D. Va.)
  Gustafson Gluek served as class counsel in this lawsuit, alleging that AOL made
  available for download its members’ search history data, which violated these
  AOL members’ right to privacy under the Federal Electronic Communications
  Privacy Act. Plaintiffs reached a settlement with AOL that made $5 million
  available to pay the claims of class members whose search data was made
  available for download by AOL.


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  The Home Depot, Inc., Customer Data Security Breach Litig. (N.D. Ga.)
  Gustafson Gluek represented credit unions and a class of financial institutions
  whose card members’ payment data was compromised as the result of Home
  Depot’s deficient data security practices. These financial institutions lost time
  and money responding to the data breach. Plaintiffs reached a settlement
  agreement with Home Depot for $27.25 million for the class members.

  Greater Chautauqua Federal Credit Union v. Kmart Corporation (N.D. Ill.)
  Gustafson Gluek served on the court-appointed Plaintiffs’ Steering Committee
  representing a class of financial institutions whose card members’ payment data
  was compromised as a result of Kmart’s deficient data security practices. These
  financial institutions lost time and money responding to the data breach.
  Plaintiffs reached a $5.2 million settlement with K-Mart for the class.


  Experian Data Breach Litig. (C.D. Cal.)
  Gustafson Gluek represented a class of consumers whose personally identifiable
  information, including Social Security numbers and other highly-sensitive
  personal data, was compromised as the result of Experian’s deficient data
  security practices. Many of these consumers lost time and money responding to
  the data breach, and they face an ongoing risk of identity theft, identity fraud,
  or other harm. Plaintiffs reached a $22 million settlement and as a part of the
  settlement, defendants also agreed and have begun undertaking certain
  remedial measures and enhanced security measures, which they will continue
  to implement, valued at over $11.7 million.




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                                       SECURITIES

  St. Paul Travelers Securities Litig. I and II (D. Minn.)
  Gustafson Gluek served as liaison counsel in both of the St. Paul Travelers
  Securities Litigations. At issue in the cases were public statements as well as
  material omissions St. Paul Travelers made that negatively impacted the stock
  prices of the Company. On behalf of New Mexico State Funds, Gustafson Gluek
  worked to litigate the two separate class actions against St. Paul Travelers,
  resulting in multi-million-dollar settlements.


  Smith v. Questar Capital Corp., et al. (D. Minn.)
  Gustafson Gluek represented a class of investors who were defrauded in a Ponzi
  scheme by a brokerage firm that sold bonds to sustain an entity that had
  collapsed into bankruptcy. Gustafson Gluek helped recover $3 million for the
  class of 125 investors.


                                  PRODUCT LIABILITY

  Bhatia v. 3M Co. (D. Minn.)
  Gustafson Gluek represented a class of dentists who bought 3M Lava Ultimate
  Restorative material for use in dental crowns. Gustafson Gluek was appointed as
  Co-Lead Counsel for Plaintiffs, who alleged that the 3M Lava material failed at
  an unprecedented rate, leading to substantial loss of time and money for the
  dentists and injury to the patients. Gustafson Gluek helped secure a settlement
  of approximately $32.5 million for all of the dentists who had suffered damages
  from the failure of this product.


  Medtronic, Inc., Sprint Fidelis Leads Products Liability Litig. (D. Minn.)
  Gustafson Gluek was Lead Counsel representing Plaintiffs, who had Medtronic’s
  Sprint Fidelis Leads implanted in them. Plaintiffs alleged that Medtronic’s Sprint
  Fidelis Leads contained serious defects that cause the leads to fracture, resulting
  in unnecessary shocks. Ultimately, these cases settled for over $200 million on

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  behalf of thousands of injured claimants who participated in the settlement. The
  settlement included a seven-year claim period in which individuals who were
  registered to participate in the settlement could make a claim if their device
  failed or was removed within that time period for reasons related to the alleged
  defect.


  Medtronic, Inc. Implantable Defibrillators Products Liability Litig. (D. Minn.)
  Gustafson Gluek was appointed Co-Lead Counsel in this MDL representing
  individuals, who were implanted with certain implantable defibrillators
  manufactured by Medtronic, Inc. Plaintiffs alleged that these certain
  Medtronic’s implantable cardioverter defibrillators (ICDs), and cardiac
  resynchronization therapy defibrillators (CRT-Ds) contained serious battery
  defects, which resulted in a recall of the products at issue. Plaintiffs alleged that
  Medtronic, Inc. knew about this defect, intentionally withheld important
  information from the FDA and the public and continued to sell the devices for
  implantation into patients facing life-threatening heart conditions. Gustafson
  Gluek, in its role as Co-Lead Counsel, helped secure a settlement of
  approximately $100 million dollars for claimants who participated in the
  settlement.


                   INTELLECTUAL PROPERTY & PATENT MISUSE

  Augmentin Litig. (E.D. Va.)
  Gustafson Gluek represented a class of direct purchasers of the pharmaceutical
  drug, Augmentin. Plaintiffs alleged that defendant GlaxoSmithKline violated the
  antitrust laws by unlawfully maintaining its monopoly over Augmentin and
  preventing the entry of generic equivalents. Gustafson Gluek helped recover
  $62.5 million for the class.


  Dryer, et al., v. National Football League (D. Minn.)
  The U.S. District Court for the District of Minnesota appointed Gustafson Gluek
  Lead Settlement Counsel in Dryer v. NFL. In that capacity, Gustafson Gluek

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  represented a class of retired NFL players in protecting their rights to the use of
  their likenesses in marketing and advertising. Gustafson Gluek helped secure a
  settlement with the NFL that created unprecedented avenues of revenue
  generation for the class.


  In re Restasis (Cyclosporine Opthalmic Emulsion) Antitrust Litig. (E.D.N.Y.)
  Gustafson Gluek represented a proposed class of End-Payor Plaintiffs in this
  antitrust class action. Plaintiffs alleged that defendant Allergan engaged in a
  multifaceted conspiracy to delay generic competition for its brand-name drug
  Restasis. Gustafson Gluek helped recover $30 million for the class.


  Spine Solutions, Inc., et al. v. Medtronic Sofamore Danek, Inc., et al. (W.D.
  Tenn.)
  Gustafson Gluek was one of the counsel representing the plaintiff, Spine
  Solutions, Inc. and Synthes Spine So., L.P.P., in a patent litigation against
  Medtronic Safamor Danek, Inc. and Medtronic Sofamor Donek, USA. The patent
  at issue in that case involved technology relating to spinal disc implants. This
  case went to trial in November 2008 and a jury verdict was returned in favor of
  our clients. The jury found willful infringements and awarded both lost profits and
  reasonable royalty damages to our clients.


  In re Wellbutrin SR Antitrust Litigation (E.D. Pa.)
  Gustafson Gluek played an integral role in this pharmaceutical class action. The
  firm represented direct purchasers of Wellbutrin SR, who alleged that defendant
  GlaxoSmithKline defrauded the U.S. Patent and Trademark Office and filed
  sham lawsuits against its competitors, which delayed the availability of the
  generic version of Wellbutrin SR to consumers. As a result of this delay, Plaintiffs
  alleged that they paid more for Wellbutrin SR than they would have if the
  generic version had been available to them. Gustafson Gluek was actively
  involved in the investigation, discovery, motion practice, and trial preparation
  for this case and served an essential role in the mediation that resulted in a $49
  million settlement to the direct purchasers.


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                              APPELLATE ADVOCACY

  Gustafson Gluek has experienced, seasoned appellate advocates who can
  assist in getting the right result. Because Gustafson Gluek attorneys have tried
  complex cases to jury and bench verdicts, they understand how important the
  trial court is to a successful appeal.

  Gustafson Gluek’s appellate attorneys draw from many years of experience
  practicing before courts at every level of the state and federal system. They
  have successfully briefed and argued a variety of complex class and non-class
  cases and been called upon by peers to assist in the appellate process for their
  clients as well. In addition, they have frequently written briefs and appeared as
  amicus curiae (friend of the court) on behalf of several professional
  organizations.

  Gustafson Gluek appellate attorneys are admitted to practice in the following
  appellate courts:

     • First Circuit Court of Appeals

     • Third Circuit Court of Appeals

     • Fifth Circuit Court of Appeals

     • Eighth Circuit Court of Appeals

     • Ninth Circuit Court of Appeals

     • Eleventh Circuit Court of Appeals

     • Minnesota State Court of Appeals

     • Minnesota Supreme Court

     • United States Supreme Court




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  The following is a representative list of cases in which Gustafson Gluek
  attorneys argued before the Eighth Circuit include:

     • Bryant, et al. v. Medtronic, Inc., et al.

     • Dryer, et al. v. National Football League

     • Graves v. 3M Company

     • Haddock v. LG Electronics USA, Inc.

     • Rick, et al. v. Wyeth, Inc., et al.

     • Karsjens, et al. v. Piper, et al.

     • LaBrier v. State Farm Fire and Casualty Co.

     • MN Senior Foundation, et al. v. United States, et al.

     • Larson v. Ferrellgas Partners

     • Smith v. Fairview Ridges Hospital

     • Song v. Champion Pet Foods USA, Inc.

     • Beaulieu v. State of Minnesota




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                  Practice Areas and Current Cases

                                       ANTITRUST

  Gustafson Gluek PLLC is devoted to the prosecution of antitrust violations.
  Gustafson Gluek attorneys have litigated antitrust cases in federal and state
  courts across the United States.

  Federal and state antitrust laws are designed to protect and promote
  competition among businesses by prohibiting price fixing and other forms of
  anticompetitive conduct. Violations can range from straight forward
  agreements among competitors to raise prices above competitive prices to
  complicated schemes that affect relationships between different levels of a
  market.

  Ongoing prosecution of these illegal schemes helps protect the average
  consumer from being forced to pay more than they should for everyday goods.
  Below are some representative antitrust cases that Gustafson Gluek is currently
  involved in:


  In re Broiler Chicken Antitrust Litigation (N.D. Ill.)
  Gustafson Gluek is part of the Co-Lead counsel team for class of commercial
  indirect purchasers such as restaurants. The case alleges chicken suppliers
  colluded to artificially restrict the supply and raise the price of chicken in the
  United States. As part of the Co-Lead counsel team, Gustafson Gluek helped
  defeat defendants’ motion to dismiss and recently succeeded in getting the
  class certified. To date we have helped recover over $100 million in settlements
  from seven defendants. This case is on-going.


  In re Crop Inputs Antitrust Litig. (E.D. Mo.)
  Gustafson Gluek is Co-Lead counsel representing a class of farmers alleging that
  manufacturers, wholesalers and retailers conspired to artificially increase and fix
  the price of crop inputs (e.g., seeds, fertilizers, pesticides) used by farmers.

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  In re Deere & Company Repair Services Antitrust Litig. (N.D. Ill.)
  Gustafson Gluek has been appointed as Co-Lead counsel on behalf of a
  proposed class of farmers who purchased repair services from John Deere.
  Plaintiff alleges Deere monopolized the market for repair and diagnostic services
  for its agricultural equipment in order to inflate the price of these services.


  In re Dealer Management Systems Antitrust Litig. (N.D. Ill.)
  Gustafson Gluek has been appointed as a member of the Steering Committee
  representing a class of car dealerships. Plaintiffs allege that defendants
  unlawfully entered into an agreement that reduced competition and increased
  prices in the market for Dealer Management Systems (“DMS”) and data
  integration services related to DMS. Plaintiffs have reached a settlement with
  one defendant but continue to litigate against the remaining defendants.


  In re Disposable Contact Lens Antitrust Litig. (M.D. Fla.)
  Gustafson Gluek represents a class of individuals who purchased contact lenses
  made by Alcon, CooperVision, Bausch + Lomb, and Johnson & Johnson.
  Plaintiffs allege that these manufacturers unlawfully conspired to impose
  minimum resale price agreements on retailers, which restricts retailers’ ability to
  lower prices to consumers. The class was certified, and Gustafson Gluek
  attorneys were members of the trial team. Ultimately the case settled with all the
  defendants and that settlement received final approval from the Court.


  In re Domestic Airline Travel Antitrust Litig. (D.D.C.)
  Gustafson Gluek is part of a team representing passengers of the airlines
  alleging antitrust violation against various airlines. The court denied defendants’
  motion to dismiss. Discovery has concluded and summary judgement motions
  have been submitted. There have been settlements with two of the defendants
  in this litigation to date.




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  In re DPP Beef Litig. (D. Minn.)

  Gustafson Gluek has been appointed Co-Lead Counsel for a proposed class of
  direct purchasers of beef. Plaintiffs allege that Cargill JBS, Tyson and National
  Beef Packing Company conspired to fix and maintain the price of beef in
  violation of the federal antitrust laws resulting in supracompetitive prices for
  beef. This litigation is ongoing, but plaintiffs have reached a $52.5 million
  settlement with one defendant.


  In re Generic Pharmaceuticals Pricing Antitrust Litig. (E.D. Pa.)

  Gustafson Gluek represents a class of Direct Purchaser Plaintiffs and is part of a
  team of law firms alleging anti-competitive conduct by more than twenty
  generic drug manufacturers with respect to more than 100 generic drugs,
  including drugs used to treat common and serious health conditions such as
  diabetes and high blood pressure. Cases have been brought on behalf of
  several distinct groups of plaintiffs, including Direct Purchaser Plaintiffs, Indirect
  Purchaser Plaintiffs, multiple individual plaintiffs, and the State AGs. There are
  currently more than a dozen separate cases related to various drugs, which
  have been organized into three groups for the purposes of case management.
  The court has denied the motion to dismiss, and discovery is ongoing.


  In re Google Digital Publisher Antitrust Litig. (N.D. Cal.)

  Gustafson Gluek has been appointed to the Leadership Committee
  representing a class of publishers who sold digital advertising space via Google.
  Plaintiffs allege that Google’s anticompetitive monopolistic practices led to
  digital publishers being paid less for their advertising space than they otherwise
  would have been paid in a competitive market.




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                            CONSUMER PROTECTION

  Gustafson Gluek PLLC has led class action lawsuits on behalf of consumers
  alleging consumer protection violations or deceptive trade practices. These
  cases involve claims related to the false marketing of life insurance, defective
  hardware in consumer computers, misleading air compressor labeling, and
  rental car overcharges. Below are some representative cases involving
  consumer protection claims that Gustafson Gluek is currently litigating:


  Champion PetFoods Litig. (multi-state actions)
  Gustafson Gluek represents consumers who purchased Orijen and/or Acana
  labels of Champion PetFoods’ dog food. Plaintiffs have brought cases in several
  states, including Illinois, Washington, and Iowa alleging that Champion PetFoods
  makes misrepresentations and omissions on their packaging of these dog foods.


  In re Plum Baby Food Litig. (N.D. Cal.)
  Gustafson Gluek represents proposed nationwide classes of consumers that
  purchased Plum Organics baby food products. Plaintiffs allege that these baby
  foods were deceptively labeled, marketed, and sold because they contain
  undisclosed level of heavy metals and contaminants including lead, cadmium,
  mercury, arsenic, and perchlorate.


  In re: Nurture Baby Food Litig. (S.D.N.Y.)
  Gustafson Gluek represents proposed nationwide classes of consumers that
  purchased HappyBaby or HappyTots baby food products. Plaintiffs allege that
  these baby foods were deceptively labeled, marketed, and sold because they
  contain undisclosed level of heavy metals and contaminants including lead,
  cadmium, mercury, arsenic, and perchlorate.




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  Broadway v. Kia America, Inc. (D. Minn.)
  Gustafson Gluek represents proposed nationwide classes of people who
  purchased certain models of Kia and Hyundai automobiles that lack an engine
  immobilizer which makes those vehicles unsafe and prone to theft.


  Salter, et al. v. PHH Mortgage Corp. (S.D. Fl.)
  Gustafson Gluek represents a proposed nationwide class of homeowners who
  were charged impermissible and improperly documented mortgage payoff
  fees.


  Gisairo, et al. v. Lenovo (United States) Inc. (D. Minn.)
  Gustafson Gluek represents proposed classes of consumers who purchased
  various Lenovo laptop computers. These computers suffer from a common
  hinge failure that renders the products partially or completely useless.


  Thelen, et al, v HP Inc. (D. Del.)
  Gustafson Gluek represents proposed classes of consumer who purchased
  various HP laptop computers. These computers suffer from a common hinge
  defect that renders the products partially or completely useless.


  Kevin Brnich Electric LLC, et al. v. Siemens Industry, Inc. (N.D. Ga.)
  Gustafson Gluek represents a proposed classes of electricians and consumers
  who purchased Siemens Ground Fault Circuit Interrupter products. These
  products are prone to premature nuisance faulting.




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                          CONSTITUTIONAL LITIGATION

  Gustafson Gluek is devoted to the protection of the constitutional liberties of all
  individuals. The Firm has litigated several cases at the federal court level on
  matters involving civil commitment, police brutality, prisoner mistreatment and
  government misuse of private property. Below are some representative cases
  involving constitutional claims that Gustafson Gluek is currently litigating or has
  recently litigated:



  Doe v. Hanson et al. (Minn.)
  Gustafson Gluek represents a former juvenile resident of Minnesota Correctional
  Facility – Red Wing who alleges he was sexually assaulted by a staff member
  over the course of several years. Despite alleged knowledge of the risk of the
  abuse to the juvenile, the Correctional Facility did nothing to protect the
  juvenile. A settlement was reached in 2021, which included significant financial
  compensation for the victim, required additional training for the MCF-Red Wing
  staff, and 3 policy changes at MCF-Red Wing.


  Carr v. City of Robbinsdale (Minn.)
  Gustafson Gluek represented an individual whose car was seized by the
  Robbinsdale police. The client was a passenger in her car, when the driver was
  pulled over and arrested for driving under the influence. The officer seized the
  car pursuant to Minnesota’s civil forfeiture statute. Gustafson Gluek filed a
  complaint challenging the constitutionality of the Minnesota civil forfeiture laws.
  However, prior to any meaningful litigation, the parties were able to settle the
  case.


  Khottavongsa v. City of Brooklyn Center (D. Minn.)
  Gustafson Gluek represented the family of a man killed by Brooklyn Center
  police in 2015. Gustafson Gluek brought section 1983 claims, alleging the officers
  used excessive force and ignored his medical needs, and that the City of

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  Brooklyn Center failed to train and supervise the officers. Defendant’s motion for
  summary judgment was largely defeated. The case settled prior to trial.

  Hall v. State of Minnesota (Minn.)
  Gustafson Gluek successfully litigated a case against the State of Minnesota
  regarding the State’s Unclaimed Property Act. On behalf of plaintiffs, the Firm
  achieved a ruling that a portion of the State’s Unclaimed Property Act was
  unconstitutional and, as a result, the statute was changed, and property
  returned to individuals.



  Karsjens, et al. v. Jesson, et al. (D. Minn.)
  Gustafson Gluek represents a class of Minnesota’s civilly committed sex
  offenders on a pro bono basis through the Federal Bar Association’s Pro Se
  Project. Gustafson Gluek has been litigating this case since 2012, alleging that
  Minnesota’s civil commitment of sex offenders is unconstitutional and denies the
  due process rights of the class. After a six-week trial in February and March of
  2015, Minnesota District Court Judge Donovan Frank found in favor of the class,
  ruling that the Minnesota Sex Offender Program (MSOP) is unconstitutional, and
  ordering that extensive changes be made to the program. That order was
  reversed on appeal. Gustafson Gluek continues to vigorously advocate for the
  class on the remaining claims and pursue a resolution that will provide
  constitutional protections to those civilly committed to the MSOP.


  Jihad v. Fabian (D. Minn.)
  Gustafson Gluek represented an individual bringing suit against the State of
  Minnesota, the Department of Corrections and others alleging violations of his
  religious rights relating to his incarcerations in the Minnesota Corrections Facility
  in Stillwater. Gustafson Gluek was able to secure a settlement for the plaintiff
  which involved a change in the Department of Corrections policy to provide
  plaintiff with halal-certified meals at the correction facilities.




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  Samaha, et al. v. City of Minneapolis, et al. (D. Minn.)
  Gustafson Gluek is representing several peaceful protestors who were subject to
  excessive force at the George Floyd protests in May 2020. While peacefully
  protesting, the plaintiffs were subjected to tear gas, pepper spray and other
  violence. The case is a class action seeking declaratory and injunctive relief,
  including a judgment that the City of Minneapolis has a custom, policy and
  practice of encouraging and allowing excessive force. The case is on-going.


  Wolk v. City of Brooklyn Center, et al. (D. Minn.)
  Gustafson Gluek is representing a peaceful protestor who was subject to
  excessive force at the Daunte Wright protests in April 2021. While peacefully
  protesting, the plaintiff was subjected to tear gas, pepper spray, and was shot
  by a rubber bullet. The case is on-going and seeks both damages and injunctive
  relief to change the policies of the law enforcement agencies that were
  involved.


                                   DATA BREACH


  In re Equifax Inc. Customer Data Security Breach Litig. (N.D. Ga.)

  Gustafson Gluek represented a class of individuals whose personal information
  was impacted as the result of the Equifax’s deficient data security practices.
  Plaintiffs reached a settlement where Equifax agreed to pay $380 million
  towards the fund for class benefits and an additional $125 million for out-of-
  pocket losses in addition to credit monitoring and identity restoration services.


  Landwehr v. AOL Inc. (E.D. Va.)

  Gustafson Gluek served as class counsel in this lawsuit, alleging that AOL made
  available for download its members’ search history data, which violated these
  AOL members’ right to privacy under the Federal Electronic Communications
  Privacy Act. Plaintiffs reached a settlement with AOL that made $5 million



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  available to pay the claims of class members whose search data was made
  available for download by AOL.


  The Home Depot, Inc., Customer Data Security Breach Litig. (N.D. Ga.)

  Gustafson Gluek represented credit unions and a class of financial institutions
  whose card members’ payment data was compromised as the result of Home
  Depot’s deficient data security practices. These financial institutions lost time
  and money responding to the data breach. Plaintiffs reached a settlement
  agreement with Home Depot for $27.25 million for the class members.


  Greater Chautauqua Federal Credit Union v. Kmart Corporation (N.D. Ill.)
  Gustafson Gluek served on the court-appointed Plaintiffs’ Steering Committee
  representing a class of financial institutions whose card members’ payment data
  was compromised as a result of Kmart’s deficient data security practices. These
  financial institutions lost time and money responding to the data breach.
  Plaintiffs reached a $5.2 million settlement with K-Mart for the class.


  Experian Data Breach Litig. (C.D. Cal.)

  Gustafson Gluek represented a class of consumers whose personally identifiable
  information, including Social Security numbers and other highly-sensitive
  personal data, was compromised as the result of Experian’s deficient data
  security practices. Many of these consumers lost time and money responding to
  the data breach, and they face an ongoing risk of identity theft, identity fraud,
  or other harm. Plaintiffs reached a $22 million settlement and as a part of the
  settlement, defendants also agreed and have begun undertaking certain
  remedial measures and enhanced security measures, which they will continue
  to implement, valued at over $11.7 million.




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                                       SECURITIES

  St. Paul Travelers Securities Litig. I and II (D. Minn.)
  Gustafson Gluek served as liaison counsel in both of the St. Paul Travelers
  Securities Litigations. At issue in the cases were public statements as well as
  material omissions St. Paul Travelers made that negatively impacted the stock
  prices of the Company. On behalf of New Mexico State Funds, Gustafson Gluek
  worked to litigate the two separate class actions against St. Paul Travelers,
  resulting in multi-million-dollar settlements.


  Smith v. Questar Capital Corp., et al. (D. Minn.)
  Gustafson Gluek represented a class of investors who were defrauded in a Ponzi
  scheme by a brokerage firm that sold bonds to sustain an entity that had
  collapsed into bankruptcy. Gustafson Gluek helped recover $3 million for the
  class of 125 investors.




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                                PRODUCT LIABILITY

  Sometimes, consumers are injured by the products they purchase. Products
  liability is an area of law that seeks to hold manufacturers of products that have
  injured individuals responsible for the injuries their defective products caused.
  These defective products range from medical devices to vehicles to diapers
  and many others. Gustafson Gluek PLLC represents consumers against the
  manufacturers of these defective products and has been able to achieve
  sizable recoveries on behalf of injured individuals. Below are some
  representative product liability cases that Gustafson Gluek is currently litigating:


  3M Co. Earplug Litig. (N.D. FL / D. Minn. / Minn. State Court)
  Gustafson Gluek represents civilians who purchased and used the 3M/Aero
  manufactured dual-sided earplugs for use in both job and recreational
  endeavors and who have since experienced hearing loss and tinnitus. Plaintiffs
  allege that the defendant failed to properly instruct plaintiffs on how to use
  these devices. Thus far, Plaintiffs in the Minnesota Litigation have successfully
  argued for the right to assert punitive damages and look forward to proving
  their assertions in an upcoming bellwether trial.


  In re FCA US LLC Monostable Electronic Gearshift Litig. (E.D. Mich.)
  Gustafson Gluek serves on the Plaintiffs’ Steering Committee and represents
  individuals who owned or leased 2012-2014 Dodge Chargers, 2014-2015 Chrysler
  300s, and 2014-2015 Jeep Grand Cherokees. Plaintiffs allege that these vehicles
  contain defective gearshifts, which allow vehicles to roll away out of the park
  position. Issue classes have been conditionally certified.


  Krautkramer et al., v. Yamaha Motor Corporation, U.S.A. (D. Minn.)
  Gustafson Gluek represents a proposed class of individuals who own or lease a
  range of Yamaha off-road vehicles. Plaintiffs allege that these vehicles are
  subject to overheating and engine failure due to a defect in the vehicle
  engines.


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  Mackie et al v. American Honda Motor Co., Inc. et al. (D. Minn.)
  Gustafson Gluek represents a proposed class of consumers who purchased or
  leased 2019-2021 Honda CR-V and Civic vehicles and 2018-2021 Accord
  vehicles equipped with “Earth Dreams” 1.5L direct injection engines. Plaintiffs
  allege that these vehicles contain an engine defect which causes fuel
  contamination of the engine oil resulting in oil dilution, decreased oil viscosity,
  premature wear and ultimate failure of the engines, engine bearings, and other
  internal engine components, and an increased cost of maintenance.


  Reynolds, et al., v. FCA US, LLC (E.D. Mich.)
  Gustafson Gluek represents a proposed class of individuals who owned or
  leased 2018-2020 Jeep Wrangler and 2020 Jeep Gladiator vehicles. Plaintiffs
  allege that these vehicles contain a defective front axle suspension system that
  causes the steering wheel to shake violently while operating at highway speeds.


  Rice v. Electrolux Home Prod., Inc. (M.D. Pa.); Gorczynski v. Electrolux
  Home Products, Inc. (D.N.J.)
  Gustafson Gluek represents classes of individuals who own an Electrolux
  microwave with stainless-steel handles. Plaintiffs in these cases allege that these
  certain microwaves, which were sold to be placed over a cooktop surface,
  have stainless steel handles that can heat to unsafe temperatures when the
  cooktop below is in use.


  Woronko v. General Motors, LLC (E.D. Mich.)
  Gustafson Gluek represents a proposed class of individuals who owned or
  leased 2015-2016 Chevrolet Colorado and GMC Canyon vehicles. Plaintiffs
  allege that these vehicles are equipped with a defective electrical connection
  that causes the vehicles to lose power steering while driving under a variety of
  conditions. This case is in the initial pleading stage.




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                  INTELLECTUAL PROPERTY & PATENT MISUSE

  Augmentin Litig. (E.D. Va.)

  Gustafson Gluek represented a class of direct purchasers of the pharmaceutical
  drug, Augmentin. Plaintiffs alleged that defendant GlaxoSmithKline violated the
  antitrust laws by unlawfully maintaining its monopoly over Augmentin and
  preventing the entry of generic equivalents. Gustafson Gluek helped recover
  $62.5 million for the class.


  Dryer, et al., v. National Football League (D. Minn.)

  The U.S. District Court for the District of Minnesota appointed Gustafson Gluek
  Lead Settlement Counsel in Dryer v. NFL. In that capacity, Gustafson Gluek
  represented a class of retired NFL players in protecting their rights to the use of
  their likenesses in marketing and advertising. Gustafson Gluek helped secure a
  settlement with the NFL that created unprecedented avenues of revenue
  generation for the class.


  In re Restasis (Cyclosporine Opthalmic Emulsion) Antitrust Litig. (E.D.N.Y.)
  Gustafson Gluek represented a proposed class of End-Payor Plaintiffs in this
  antitrust class action. Plaintiffs alleged that defendant Allergan engaged in a
  multifaceted conspiracy to delay generic competition for its brand-name drug
  Restasis. Gustafson Gluek helped recover $30 million for the class.


  Spine Solutions, Inc., et al. v. Medtronic Sofamore Danek, Inc., et al.
  (W.D. Tenn.)
  Gustafson Gluek was one of the counsel representing the plaintiff, Spine
  Solutions, Inc. and Synthes Spine So., L.P.P., in a patent litigation against
  Medtronic Safamor Danek, Inc. and Medtronic Sofamor Donek, USA. The patent
  at issue in that case involved technology relating to spinal disc implants. This
  case went to trial in November 2008 and a jury verdict was returned in favor of
  our clients. The jury found willful infringements and awarded both lost profits and
  reasonable royalty damages to our clients.
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  In re Wellbutrin SR Antitrust Litigation (E.D. Pa.)

  Gustafson Gluek played an integral role in this pharmaceutical class action. The
  firm represented direct purchasers of Wellbutrin SR, who alleged that defendant
  GlaxoSmithKline defrauded the U.S. Patent and Trademark Office and filed
  sham lawsuits against its competitors, which delayed the availability of the
  generic version of Wellbutrin SR to consumers. As a result of this delay, Plaintiffs
  alleged that they paid more for Wellbutrin SR than they would have if the
  generic version had been available to them. Gustafson Gluek was actively
  involved in the investigation, discovery, motion practice, and trial preparation
  for this case and served an essential role in the mediation that resulted in a $49
  million settlement to the direct purchasers.




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                           Pro Bono & Community
  Gustafson Gluek recognizes that those who provide legal services are in a
  unique position to assist others. The Firm and its members strongly believe in
  giving back to the community by providing legal services to those in need. The
  law can make an immense difference in an individual’s life; however, effectively
  navigating the legal system is not an easy task. Providing pro bono legal services
  promotes access to justice, by giving counsel to those who otherwise would not
  have it.


  In keeping with this commitment to providing representation to those who
  otherwise do not have access to representation, Dan Gustafson was one of four
  lawyers who helped develop and implement the Minnesota Pro Se Project for
  the Minnesota Chapter of the Federal Bar Association. Because the Federal Bar
  Association did not have funding for the project, Gustafson Gluek volunteered
  to administer the Project during its inaugural year, starting in May 2009, devoting
  extensive resources to matching pro se litigants with volunteer counsel. In 2010,
  Chief Judge Michael Davis of the District of Minnesota awarded Dan Gustafson
  a Distinguished Pro Bono Service Award for “rising to the Court’s challenge of
  bringing the idea of the Pro Se Project to fruition and nurturing the Project into its
  current form.” Gustafson Gluek has continued representing clients through
  the Pro Se Project since that time.




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     Gustafson Gluek Supports the Following Volunteer
                      Organizations

     • American Antitrust Institute
     • The American Constitutional Society
     • Association of Legal Administrators
     • Children’s Law Center
     • Cookie Cart
     • COSAL
     • Division of Indian Work
     • Domestic Abuse Project
     • Farmers Union Foundation
     • Federal Bar Association
     • Federal Pro Se Project
     • Great North Innocence Project
     • Greater Minneapolis Crisis Nursery
     • Hennepin County Bar Association
     • Innocence Project of MN
     • Infinity Project
     • Minneapolis Jewish Foundation
     • Minnesota Hispanic Bar Association
     • Minnesota Paralegal Association
     • Minnesota State Bar Association
     • Minnesota Women Lawyers
     • MN Chapter of the Federal Bar Association
     • Page Education Foundation
     • Project Hope
     • Southern MN Regional Legal Services
     • The Fund For Legal Aid Society
     • Volunteer Lawyers Network




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                         OUR PROFESSIONALS




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  DANIEL E. GUSTAFSON
  Daniel E. Gustafson is a founding member of
  Gustafson Gluek PLLC. Mr. Gustafson has
  dedicated his career to helping individuals and
  small businesses litigate against large corporations
  for various antitrust, product defect or consumer
  fraud violations. He has also strived to use his legal
  skills to represent those who cannot otherwise
  afford a lawyer. Mr. Gustafson served as an
  appointed public defender in federal court, he was
  involved in helping develop the Federal Bar
  Association’s Pro Se Project, which coordinates
  volunteer representation for pro se litigants, and he has spent thousands of hours
  representing individuals on a pro bono basis. In 2019, he was given a lifetime
  achievement award by the Minnesota Federal Bar Association for his work on
  the Pro Se Project.


  Mr. Gustafson is admitted to practice in the United States District Court for the
  District of Minnesota, the United States District Court for the District of North
  Dakota, the United States District Court for the Eastern District of Michigan, the
  United States District Court for the Western District of Michigan, the United States
  District Court for the Eastern District of Wisconsin, the United States Courts of
  Appeals for the First, Third, Fifth, Sixth, Eighth and Eleventh Circuits, the Minnesota
  Supreme Court and in the United States Supreme Court.


  Mr. Gustafson was an adjunct professor at the University of Minnesota Law School
  for many years, teaching a seminar long course on the “Fundamentals of Pretrial
  Litigation.”


  Mr. Gustafson is a past president of the Federal Bar Association, Minnesota
  Chapter (2002-2003) and served in various capacities in the Federal Bar
  Association over the last several years. He was the Vice-Chair of the 2003 Eighth
  Circuit Judicial Conference held during July 2003 in Minneapolis (Judge Diana E.

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  Murphy was the Chair of the Conference). He is a member of the Hennepin
  County, Minnesota, Federal, and American Bar Associations.


  In September 2011, Mr. Gustafson testified before the House Committee on the
  Judiciary, Subcommittee on Intellectual Property, Competition and the Internet
  regarding the proposed merger between Express Scripts and Medco. Mr.
  Gustafson also testified before the United States Congressional Commission on
  Antitrust Modernization in June 2005. In addition to congressional testimonies,
  Mr. Gustafson has authored or presented numerous seminars and continuing
  legal education pieces on various topics related to class action litigation,
  antitrust, consumer protection or legal advocacy.


  Mr. Gustafson served as a law clerk to the Honorable Diana E. Murphy, United
  States District Judge for the District of Minnesota (1989-91). Following his judicial
  clerkship, Mr. Gustafson worked in the fields of antitrust and consumer protection
  class action litigation. In May 2003, Mr. Gustafson formed Gustafson Gluek PLLC
  where he continues to practice antitrust and consumer protection class action
  law.


  Mr. Gustafson has been actively involved in many cases, in which he, or the Firm,
  has been named Lead Counsel, Co-Lead Counsel, Co-Lead Trial Counsel, or
  Settlement Counsel, including:


         • In re DPP Beef Antitrust Litig. (D. Minn.)
         • In re Pork Antitrust Litig. (D. Minn.)
         • 3M Earplugs Litig. (Minn.)
         • In re Syngenta Litig. (Minn.)
         • In re Broiler Chicken Antitrust Litig. (N. D. Ill)
         • In re Surescripts Antitrust Litig. (N.D. Ill.)
         • In re Medtronic, Inc. Sprint Fidelis Liability Litig. (D. Minn.)
         • Precision Assocs. Inc. v. Panalpina World Transport (Holding) Ltd. (E.D.N.Y)
         • In re Medtronic, Inc. Implantable Defibrillators Liability Litig. (D. Minn.)
         • In re Vitamin C Antitrust Litig. (E.D.N.Y.)
         • In re DRAM Antitrust Litig. (N.D. Cal.)

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         • The Shane Group, Inc. v. Blue Cross Blue Shield of Michigan (E.D. Mich.)
         • Karsjens v. Jesson (D. Minn.)
         • Synthes USA, LLC v. Spinal Kinetics (N.D. Cal.)
         • KBA-Giori, North America, Inc., v. Muhlbauer, Inc. (E.D. Va.)
         • Spine Solutions, Inc. v. Medtronic Sofamor Danek, Inc. (W.D. Tenn.)
         • Dryer v. National Football League (D. Minn.)

                          Additional Background Information

  Education:
  • Juris Doctorate (1989)
     o University of Minnesota Law School
  •   Bachelor of Arts (1986)
       o University of North Dakota
  Court Admissions:
  • Minnesota Supreme Court
  • U.S. District Court for the District of Minnesota
  • U.S. Court of Appeals for the First, Second, Third, Fifth, Sixth, Eighth, Tenth and
    Eleventh Circuits
  • U.S. Supreme Court
  Recognition:
  • Lifetime Achievement Award from the District of Minnesota Bar (2019)
  • Selected by Super Lawyers as a Minnesota “Super Lawyer” (2001 - 2022)
  • Selected by Minnesota Lawyer as Attorney of the Year (2010, 2013, 2017)
  • Ranked in the “Top 100 Minnesota Lawyers” by Super Lawyer (2012-2021)
  • MSBA North Star Lawyer (2012, 2013, 2015, 2018, 2020)
  • American Antitrust Institute Meritorious Service Award (2014)
  • Director of The Fund for Legal Aid Board (2014-2018)
  • Infinity Project Board Member (2015)
  • MWL President’s Leadership Circle (2013-2014)
  • UST School of Law Mentor (2014-2015)
  • AAI Annual Private Enforcement Award and Conference Committee Member
    (2014- 2016)
  • Richard S. Arnold Award for Distinguished Service (2021)




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  KARLA M. GLUEK


  Karla M. Gluek is a founding member of Gustafson Gluek
  PLLC. Ms. Gluek has been practicing in the areas of
  antitrust and consumer protection class action litigation
  since 1995, following her clerkship to the Honorable
  Gary Larson, District Judge, Fourth Judicial District of
  Minnesota. Ms. Gluek has spent her career representing
  individuals and small businesses against large
  corporation for various antitrust, product defect or
  consumer fraud violations.


  In May 2003, Ms. Gluek joined Mr. Gustafson in forming Gustafson Gluek PLLC. In
  2020, Ms. Gluek was elected as the Firm Manager for Gustafson Gluek,
  becoming the first woman to serve in that position at the Firm.


  Throughout her law career, Ms. Gluek has also spent thousands of hours
  representing individuals on a pro bono basis as part of her commitment to justice
  for all. She has served as a volunteer attorney for the Minnesota Federal Bar
  Association’s Federal Pro Se Project.
  Ms. Gluek is admitted to practice in the United States District Court for the District
  of Minnesota and the Eighth Circuit Court of Appeals. She is a member of the
  Hennepin County, Minnesota, and Federal Bar Associations. Ms. Gluek is also an
  active member of the Minnesota Women’s Lawyers. Ms. Gluek is a Board Member
  for the Fund for Legal Aid for the Mid-Minnesota Legal Aid.


  She has been recognized several times as a North Star Lawyer for providing at
  least 50 hours of pro bono legal services in a calendar year to individuals with
  need. She has assisted in the representation of pro se litigants through the
  Federal Bar Association’s Pro Se Project in addition to those referred to
  Gustafson Gluek by other sources. She was part of the team at Gustafson Gluek
  that represented a class of civilly committed sex offenders challenging the


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  constitutionality of Minnesota’s commitment statutes in Karsjens et al v. Jesson
  (D. Minn.).


  Ms. Gluek has been designated as a Minnesota “Super Lawyer” from 2011-2021
  and has twice been selected as one of Minnesota Lawyer’s Attorneys of the
  Year.


  Ms. Gluek has worked on several cases in which Gustafson Gluek is or had been
  appointed to leadership positions or been actively involved including:


          • Hogan v. Amazon, Inc. (N.D. Ill.)
          • 3M Company Earplugs Litig. (Minn.)
          • In re Plum Baby Food Litig. (N.D. Cal.)
          • In re Gerber Co. Heavy Metals Baby Food Litig. (E.D. Va.)
          • In re Nurture Baby Food Litig. (S.D.N.Y.)
          • In re Syngenta Litig. (Minn.)
          • In re Medtronic, Inc. Sprint Fidelis Liability Litig. (D. Minn.)
          • In re Medtronic, Inc. Implantable Defibrillators Liability Litig. (D. Minn.)
          • Karsjens v. Jesson (D. Minn.)
          • Synthes USA, LLC v. Spinal Kinetics (N.D. Cal.)
          • KBA-Giori, North America, Inc., v. Muhlbauer, Inc. (E.D. Va.)
          • Spine Solutions, Inc. v. Medtronic Sofamor Danek, Inc. (W.D. Tenn.)
          • Dryer v. National Football League (D. Minn.)
          • In re Asacol Antitrust Litig. (D. Mass.)
          • In re Wellbutrin SR/Zyban Direct Purchaser Antitrust Litig. (E.D. Pa.)
          • Reitman v. Champion Petfoods (C.D. Cal.)
          • Weaver v. Champion Petfoods (E.D. Wis.)


                             Additional Background Information

  Education:
  • Juris Doctor (JD)
     o William Mitchell College of Law
           - cum laude, J.D. (1993)



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  •   Bachelor of Arts (BA)
       o University of St. Thomas (1990)

  Court Admissions:
  • Minnesota Supreme Court
  • U.S. District Court for the District of Minnesota

  Recognition:
  • Selected by Super Lawyers as a Minnesota “Super Lawyer” (2011 – 2022)
  • Selected by Minnesota Lawyer as an Attorney of the Year (2014, 2017)
  • MSBA North Star Lawyer (2012, 2013, 2015, 2018, 2020)




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  ABOU B. AMARA, JR.

  Mr. Amara joined Gustafson Gluek PLLC as
  an associate in August 2021, after clerking
  for Associate Justice Anne K. McKeig and
  Associate Justice Paul C. Thissen of the
  Minnesota Supreme Court. As an associate
  at the Firm, Mr. Amara will be representing
  individuals and small businesses alleging antitrust, consumer, civil rights, and
  constitutional, and financial securities violations in both state and federal court.
  Before clerking on the Minnesota Supreme Court, Mr. Amara was an associate
  attorney at a well-respected Minneapolis law firm.


  During law school, Mr. Amara was a two-time National Moot Court individual
  champion—earning the “Best Oralist” award at both the 2018 William E. McGee
  National Moot Court Competition on Civil Rights and the 2019 Evan A. Evans
  National Moot Court Competition on Constitutional Law. Mr. Amara was also
  elected by his law school classmates to serve as commencement speaker.


  Before law school, Mr. Amara had an extensive career in the legislative and
  political arena, including serving as a top aide to the Minnesota Speaker of the
  House, Minnesota Secretary of State, and frequent TV/radio commentator and
  analyst on Minnesota politics and public affairs.


  In 2015, Mr. Amara was named to Twin Cities Business Magazine’s “100
  Minnesotans to Know” list for his impact in the public affairs arena and honored
  as a Minnesota “Shaper of the Future” by the publication.


  Mr. Amara currently serves on the board of MicroGrants, a nonprofit dedicated
  to providing $1,000 grants to low-income people pursuing potential to invest in
  their lives, and is a member of the leadership team of the Minnesota Association
  of Black Lawyers, serving as the organization’s Vice-President. Mr. Amara has


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  been elected to serve as Co-Chair of the Minnesota Chapter of the Federal Bar
  Association’s New Lawyer Committee for the next year.


  Mr. Amara has worked on several cases in which Gustafson Gluek is, or has been
  appointed to leadership positions or been actively involved, including:


         • In re DPP Beef Litig. (D. Minn.)
         • In re Pork Antitrust Litig. (D. Minn.)
         • Roamingwood Sewer v. National Diversified Sales, Inc. (M.D. Pa.)
         • Mortgage Refinancing (N.C. Cal.)
         • Oil and Gas Litig. (Investigating)

                           Additional Background Information

  Education:
  • Juris Doctor
     o University of St. Thomas
  •   Master of Public Policy
      o University of Minnesota
        - Hubert H. Humphrey School of Public Affairs
  •   Bachelor of Arts (BA)
       o University of Wisconsin-Eau Claire
  Court Admissions:
  • Minnesota Supreme Court (Minn.)
  • United States District Court for the District of Minnesota (D. Minn.)
  Recognition:
  •   Named Outstanding New Lawyer of the Year by the Minnesota State Bar
      Association (2022)
  •   Selected by Minnesota Lawyers as an “Up and Coming Attorney of the Year”
      (2022)




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  AMANDA M. WILLIAMS

  Amanda M. Williams is a member of Gustafson
  Gluek PLLC. Ms. Williams joined the Firm in 2005,
  following her clerkship with the Honorable Gordon
  W. Shumaker, Minnesota Court of Appeals. Since
  then, she has been actively litigating consumer
  protection, product liability, and antitrust
  class actions.


  Ms. Williams is admitted to the Minnesota Bar and is
  admitted to practice in the United States District
  Court for the District of Minnesota.


  Ms. Williams is an active member of Minnesota Women Lawyers and is former
  chair of the Law School Scholarship Committee. She currently serves on the
  Board of the Infinity project, which is an organization whose mission is to increase
  the gender diversity of the state and federal bench to ensure the quality of
  justice in the Eighth Circuit.


  She serves as a volunteer attorney for the Minnesota Federal Bar Association’s
  Federal Pro Se Project and is a recipient of the Minnesota chapter of the Federal
  Bar Association’s 2011 Distinguished Pro Bono Service award.


  Ms. Williams has been recognized as a “Rising Star” from 2014-2019 by Super
  Lawyers and was selected as one of Minnesota Lawyer’s Attorneys of the Year in
  2017. Ms. Williams was also designated as a Minnesota “Super Lawyer” by Super
  Lawyer in 2021.


  Ms. Williams has worked on several cases in which Gustafson Gluek is or had
  been appointed to leadership positions or actively involved including:


         • In re Medtronic, Inc., Implantable Defibrillators Prod. Liab. Litig. (D. Minn.)

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        • In re Syngenta Litig. (Minn.)
        • In re Asacol Antitrust Litig. (D. Mass.)
        • Ciofoletti et al. v. Securian Financial Group, Inc. (D. Minn.)
        • Reed, et al. v. Advocate Health Care, et al. (N.D. Ill.)
        • 3M Company Earplugs Litig. (Minn.)
        • In re Medtronic Inc. Sprint Fidelis Leads Prod. Liab. Litig. (D. Minn.)
        • Karsjens et al v. Jesson (D. Minn.)
        • St. Jude (Pinsonneault v. St. Jude Medical, Inc., et al. (D. Minn.);
          Houlettev. St. Jude Medical Inc., et al. (D. Minn.); Rouse v. St. Jude
          Medical, Inc., et al. (D. Minn.))
        • American Home Realty Network (Regional Multiple Listing Service of
          Minnesota, Inc., d/b/a NorthstarMLS v. American Home Realty Network,
          Inc., (D. Minn.); Metropolitan Regional Information Systems, Inc., v.
          American Home Realty Network, Inc. (D. Md.); Preferred Carolinas
          Realty, Inc., v. American Home Realty Network, Inc., d/b/a
          Neighborcity.com (M.D.N.C.))

                          Additional Background Information

  Education:
  • Juris Doctor (2004)
     o University of Minnesota Law School
       - Jessup International Law Moot Court
       - Comparative international law program in Greece
  •   Bachelor of Arts (2001)
       o Gustavus Adolphus College
         - Magna cum laude
         - Phi Beta Kappa
  Court Admissions:
  • Minnesota Supreme Court
  • U.S. District Court for the District of Minnesota
  Recognition:
  • Selected by Super Lawyers as a Minnesota “Super Lawyer” (2021-2022)
  • Selected by Super Lawyers as a Minnesota “Rising Star” (2013 – 2019)
  • Selected by Minnesota Lawyer as an Attorney of the Year (2017)
  • MSBA North Star Lawyer (2015)
  • Minnesota District Court’s Distinguished Pro Bono Service Award (2011)




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  BAILEY TWYMAN-METZGER

  Bailey Twyman-Metzger joined Gustafson Gluek in March 2023 after working as
  an attorney editor at Thomson Reuters, where she was actively involved in pro
  bono work. Prior to her work at Thomson Reuters, Bailey was a Robina Post-
  Graduate Fellow at the Advocates for Human Rights.


  Upon joining Gustafson Gluek, Bailey will be practicing in the areas of consumer
  protection and antitrust litigation, where she will be representing individuals and
  small businesses in both federal and state court. Bailey is an active member of
  the Minnesota Lavender Bar Association.


  Bailey is a 2015 graduate of Miami University with a B.A. in History and Women,
  Gender, and Sexuality Studies, and a minor in Art History, and a 2018 cum laude
  graduate of the University of Minnesota Law School. While in law school, Bailey
  was a staffer and Lead Symposium Editor for the Minnesota Journal of Law &
  Inequality. Bailey was also a student attorney and director for the University of
  Minnesota Human Rights Litigation and International Legal Advocacy Clinic.


                         Additional Background Information
  Education:
  •   Juris Doctor (2018)
       o University of Minnesota Law School
         • Lead Symposium Editor, Minnesota Journal of Law & Inequality

  •   Bachelor of Arts (2015)
       o Miami University

  Court Admissions:
  •   Minnesota Supreme Court




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  CATHERINE K. SMITH


  Catherine Sung-Yun K. Smith is a member of Gustafson
  Gluek PLLC. Since joining the Firm in 2007, Ms. Smith
  has been practicing in the area of complex antitrust
  and consumer protection litigation, particularly cases
  involving foreign entities. Ms. Smith is fluent in Korean
  and English and also has basic language skills in
  German, Japanese, and Chinese.


  Ms. Smith has been serving on the Antitrust
  Enforcement Award Judging Committee for the
  American Antitrust Institute since 2015-2021. Ms. Smith was selected as a
  Minnesota “Rising Star” from 2013-2016 by Super Lawyers. She is an active
  member of Minnesota Women Lawyers and the Federal Bar Association focusing
  on issues of diversity.


  Ms. Smith has represented many pro se litigants through the Federal Bar
  Association’s Pro Se Project in addition to those referred to Gustafson Gluek by
  other sources and received the Distinguished Pro Bono Service Award in 2010 for
  her efforts.


  She is a graduate of Korea University (B.A. 2000) and a graduate of University of
  Minnesota Law School (J.D. 2005). Ms. Smith is admitted to the New York Bar,
  Minnesota Bar and is admitted to practice in the United States District Court for
  the District of Minnesota.


  Ms. Smith has worked on several cases in which Gustafson Gluek is or had been
  appointed to leadership positions or been actively involved including:


         • In re Nurture Baby Food Litig. (S.D.N.Y.)
         • In re Gerber Co. Heavy Metals Baby Food Litig. (E.D. Va.)
         • In re Plum Baby Food Litig. (N.D. Cal.)

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         • Thomas et al v. Beech-Nut Nutrition Company (N.D.N.Y)
         • Baldwin et al v. Miracle-Ear, Inc. (D. Minn.)
         • In re Hard Disk Drive Suspension Assemblies Antitrust Litig. (N.D. Cal.)
         • In re Cathode Ray Tube (CRT) Antitrust Litig. (N.D. Cal.)
         • Fuentes et al. v. Jiffy Lube International, Inc. (E.D. Pa)
         • In re Juul Labs, Inc., Antitrust Litig. (N.D. Cal.)
         • In re Lithium Ion Batteries Antitrust Litig. (N.D. Cal.)
         • In re Dealer Management Systems Antitrust Litig. (N.D. Ill.)In re Optical
           Disk Drive Products Antitrust Litig. (N.D. Cal.)
         • In re TFT-LCD (Flat Panel) Antitrust Litig. (N.D. Cal.)
         • In re Remicade Antitrust Litig. (E.D. Pa.)
         • Fath et al. v. Honda North America, Inc. (D. Minn.)
         • Penrod et al. v. K&N Engineering, Inc. (D. Minn.)
         • Frost et al. v. LG Corp., et al. (N.D. Cal.)
         • In re Railway Industry Employee No-Poach Antitrust Litig. (W.D. Pa.)
         • In re Korean Air Lines Co. Ltd. Antitrust Litig. (C.D. Cal.)
         • In re Automotive Parts Antitrust Litig. (E.D. Mich.)

                            Additional Background Information
  Education:
  • Juris Doctor (2005)
     o University of Minnesota Law School
       - Director of the Civil Practice Clinic
       - Director of William E. McGee National Civil Rights Moot Court
          Competition
       - Participant in the Maynard Pirsig Moot Court
  •   Bachelor of Arts (2000)
       o Korea University
  Court Admissions:
  • Minnesota Supreme Court
  • U.S. District Court for the District of Minnesota
  • Appellate Division of the New York State Supreme Court
  • U.S. District Court for the Northern District of New York
  Recognition:
  • Selected by Super Lawyers as a Minnesota “Super Lawyer” (2022)
  • Selected by Super Lawyers as a Minnesota “Rising Star” (2013 – 2016)
  • Minnesota District Court’s Distinguished Pro Bono Service Award (2010)

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  DANIEL C. HEDLUND
  Daniel C. Hedlund is a member of
  Gustafson Gluek PLLC, having joined the
  Firm in 2006. Throughout his legal career,
  Mr. Hedlund has practiced in the areas of
  antitrust, securities fraud, and consumer
  protection, and, in 2021, Mr. Hedlund was
  appointed to Co-Chair the Firm’s antitrust
  litigation team.


  Mr. Hedlund is admitted to practice in the United States District Court for the District
  of Minnesota, the Eighth Circuit Court of Appeals, the Second Circuit Court of
  Appeals, and in Minnesota State Court. He is a member of the Federal, American,
  Minnesota, and Hennepin County Bar associations. Mr. Hedlund is active in the
  Minnesota Chapter of the Federal Bar Association (FBA), recently completing a
  term as President for the Minnesota chapter of the FBA. He has previously served
  in several roles for the Minnesota Chapter including: Co-Vice President for the
  Eighth Circuit, Legal Education; Co-Vice President, Special Events; Co-Vice
  President, Monthly Meetings; Secretary; and Liaison between the FBA and the
  Minnesota State Bar Association. He recently served as Chairman for the Antitrust
  Section of the Minnesota State Bar Association (MSBA), Secretary for the MSBA
  Consumer Litigation Section, and is past President of the Committee to Support
  Antitrust Laws.


  In addition to presenting at numerous CLEs, Mr. Hedlund has testified multiple
  times before the Minnesota legislature on competition law, and before the
  Federal Rules Committee.


  From 2013-2021, he has been designated as a Minnesota “Super Lawyer,” in the
  field of antitrust law. He was also ranked in the Top 100 Minnesota Lawyers by
  Super Lawyers in 2015 and 2017-2021. Mr. Hedlund has served as a volunteer
  attorney for the Minnesota Federal Bar Association’s Federal Pro Se Project and


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  is the recipient of the Minnesota District Court’s Distinguished Pro Bono Service
  Award in 2011.


  Mr. Hedlund served as a law clerk on the Minnesota Court of Appeals (1997) and
  in the Fourth Judicial District of Minnesota (1995-1996).


  Mr. Hedlund has worked on several cases in which Gustafson Gluek is or had
  been appointed to leadership positions or been actively involved including:


       • In re Beef DPP Antitrust Litig. (D. Minn.)
       • In re Broiler Chicken Antitrust Litig. (N.D. Ill.)
       • In re Interior Molded Doors Indirect Purchaser Antitrust Litig. (E.D. Va.)
       • In re Pork Antitrust Litig. (D. Minn.)
       • In re Deere & Company Repair Services Antitrust Litig. (N.D. Ill.)
       • Bhatia v. 3M Co. (D. Minn.)
       • In re Dealer Management Systems Antitrust Litig. (N.D. Ill.)
       • Kleen Prods. v. Intl. Paper (Containerboard Antitrust Litig.) (N.D. Ill.)
       • In re CenturyLink Sales Practices and Securities Litig. (D. Minn.)
       • Precision Assocs., Inc. v. Panalpina World Transport (Holding) Ltd. (E.D.N.Y.)
       • The Shane Group, Inc. v. Blue Cross Blue Shield of Michigan (E.D. Mich.)
       • In re Vitamin C Antitrust Litig. (E.D.N.Y.)
       • In re Blue Cross Blue Shield Antitrust Litig. (N.D. Ala.)
       • In re DRAM Antitrust Litig.

                            Additional Background Information

  Education:
  • Juris Doctor (1995)
     o University of Minnesota Law School
       - Note and Comment Editor:
          Minnesota Journal of Global Trade
  •   Bachelor of Arts (1989)
       o Carleton College
  Court Admissions:
  • Minnesota Supreme Court
  • U.S. District Court for the District of Minnesota

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  Recognition:
  • Selected by Super Lawyers as a Minnesota “Super Lawyer” (2013 – 2022)
  • Ranked in Top 100 Minnesota Lawyers by Super Lawyers (2015, 2017 –
    2021)
  • Minnesota District Court’s Distinguished Pro Bono Service Award (2011)
  • Recipient of the Federal Bar Association’s John T. Stewart, Jr. Memorial
    Fund Writing Award (1994)
  Publications:
  • Co-Authored “Plaintiff Overview” in Private Antitrust Litigation 2015 – Getting
    the Deal Through
  • Contributor to Concurrent Antitrust Criminal and Civil Procedure 2013 –
    American Bar Association




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  DANIEL J. NORDIN


  Daniel J. Nordin joined Gustafson Gluek PLLC as an
  associate in 2011 after graduating from the University of
  Minnesota law school. Since joining the Firm, he has
  practiced in the areas of antitrust and consumer
  protection, representing primarily small businesses and
  individuals bringing claims against large corporations.
  Mr. Nordin became a member of Gustafson Gluek in
  2019.


  In addition to his day-to-day practice, Mr. Nordin has
  represented several individuals through the Minnesota Federal Bar’s Pro Se
  Project, a program that matches pro se litigants with pro bono attorneys.


  Mr. Nordin is admitted to the Minnesota Bar and is admitted to practice in the
  United States District Court for the District of Minnesota. He is also a member of
  the Federal Bar Association and the Minnesota Bar Association.


  In law school, Mr. Nordin was a Managing Editor on the Minnesota Journal of
  Law, Science & Technology. He also volunteered as a Tenant Advocate with
  HOME Line, a nonprofit tenant advocacy organization, through the University of
  Minnesota Law School’s Public Interest Clinic.


  Mr. Nordin has worked on several cases in which Gustafson Gluek is or had been
  appointed to leadership positions or been actively involved including:

          • Google Digital Publisher Antitrust Litig. (S.D.N.Y.)
          • In re Crop Inputs Antitrust Litig. (E.D. Mo.)
          • Jones v. Varsity Brands, LLC (W.D. Tenn.)
          • In re Hard Disk Drive Suspension Assemblies Antitrust Litig. (N.D. Cal.)
          • In re Surescripts Antitrust Litigation (N.D. Ill.)
          • In re FICO Antitrust Litig. (N.D. Ala.)

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         • In re Blue Cross Blue Shield Antitrust Litig. (N.D. Ala.)
         • In re Dealer Management Systems Antitrust Litig. (N.D. Ill.)
         • In re Packaged Seafood Products Antitrust Litig. (S.D. Cal.)
         • In re Resistors Antitrust Litig. (N.D. Cal.)
         • The Shane Group, Inc., et al., vs. Blue Cross Blue Shield of Michigan (E.D.
           Mich.)
         • In re Parking Heaters Antitrust Litig. (E.D.N.Y.)
         • In re Drywall Antitrust Litig. (E.D. Pa.)


                            Additional Background Information

  Education:
  • Juris Doctor (2011)
     o University of Minnesota Law School
       - Magna cum laude
       - Managing Editor: Minnesota Journal of Law Science & Technology
  •   Bachelor of Arts (2007)
       o University of Minnesota
         - with distinction
  Court Admissions:
  • Minnesota Supreme Court
  • U.S. District Court for the District of Minnesota
  • U.S. District Court for the Easter District of Michigan
  Recognition:
  • Selected by Super Lawyers as a Minnesota “Rising Star” (2018 – 2022)
  • MSBA North Star Lawyer (2020)




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  DAVID A. GOODWIN

  David A. Goodwin is a member of
  Gustafson Gluek PLLC. When Mr. Goodwin
  joined the Firm in 2008, he began practicing
  in the areas of antitrust, securities and
  consumer protection. Since then, he has
  represented many small businesses and
  individuals in litigating their claims against
  some of the largest companies in the world.


  In addition, Mr. Goodwin has served as counsel to many individuals on a pro
  bono basis through his work with the Minnesota Federal Court’s Pro Se Project,
  which matches pro se litigants with pro bono attorneys. Through the Pro Se
  Project, Mr. Goodwin has represented individuals in bringing employments
  claims, constitutional claims and other civil claims that might otherwise not have
  been heard.

  Mr. Goodwin is admitted to practice in the Minnesota Bar and is admitted to
  practice in the United States District Court for the District of Minnesota.


  Mr. Goodwin is active in the Federal Bar Association on the national level as well
  as with the Minnesota Chapter. He has served as a National Director of the FBA.
  He is also a past Chair of the Younger Lawyers Division. Currently, he is an Eighth
  Circuit Vice President. David is also a Director of the Minnesota Chapter of the
  FBA, where he serves as the FBA Liaison for the Pro Se Project. Mr. Goodwin is
  also active with the Minnesota State Bar Association, where he has served as a
  Co-Chair of the Consumer Litigation Section.


  Mr. Goodwin is currently or has recently worked on several cases in which
  Gustafson Gluek is or had been appointed to leadership positions or actively
  involved including:




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         • Kevin Brnich Electric LLC et al. v. Siemens Industry Inc. (N.D. Ga.)
         • In Re: Kia Hyundai Vehicle Theft Marketing, Sales Practices, and Products
           Liability Litigation (C.D. Ca.)
         • Thelen, et al., v. HP. Inc. (D. De.)
         • Salinas, et al., v. Block, Inc., et al., (N.D. Ca.)
         • Hogan v. Amazon, Inc. (N.D. Ill.)
         • Krukas et al. v. AARP, Inc., et al. (D.D.C.)
         • Salmons v. National Railroad Passenger Corp., d/b/a AMTRAK (D.D.C.)
         • FCA US LLC Monostable Electronic Gearshifts Litig. (E.D. Mich.)
         • Krautkramer v. Yamaha Motor Corporation, USA (D. Minn.)
         • Reynolds, et al., v. FCA US, LLC (E.D. Mi.)
         • Gisairo v. Lenovo (United States) Inc. (D. Minn.)
         • Kottemann Orthodontics, P.L.L.C. v. Delta Dental Plans Association, et al.
           (D. Minn.)
         • In re: Dealer Management Systems Antitrust Litig. (N.D. Ill.)
         • Karsjens et al. v. Harpstead, et al. (D. Minn.)
         • In re: National Prescription Op
         • Phillips v. Caliber Home Loans (D. Minn.)
         • Woronko v. General Motors, LLC (E.D. Mich.)
         • Dryer et al. v. National Football League (D. Minn.)
         • National Hockey League Players’ Concussion Injury Litig. (D. Minn.)
         • In re Aluminum Warehousing Antitrust Litig. (S.D.N.Y.)
         • In re: National Prescription Opioids Litig. (N.D. Oh.)

                           Additional Background Information

  Education:
  • Juris Doctor (2006)
     o DePaul University College of Law
  •   Bachelor of Arts (2001)
       o University of Wisconsin

  Court Admissions:
  • Minnesota Supreme Court
  • U.S. District Court for the District of Minnesota



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  Recognition:
  • Selected by Super Lawyers as a Minnesota “Super Lawyer” (2022)
  • Selected by Super Lawyers as a Minnesota “Rising Star” (2013 – 2018)
  • MSBA North Star Lawyer (2012-2016, 2018, 2020)




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  DENNIS STEWART


  Dennis Stewart joined Gustafson Gluek PLLC as a
  member in 2019, opening the Firm’s San Diego
  office. Mr. Stewart comes to Gustafson Gluek with
  years of experience in litigating antitrust, consumer
  and securities class and individual actions. His
  cases have ranged across a wide variety of
  industries including carbon fiber, credit card fees,
  interchange, casino gaming, sports broadcasting, college athletics, rental car
  fees, electronics components, medical devices, medical services, casino
  gaming, and defense procurement.


  He is currently serving as one of the counsel in the leadership group in In re
  Payment Card Interchange Fee and Merchant Discount Antitrust Litig. He also is
  one of the counsel participating in the representation of End Purchaser Plaintiffs
  in In re Packaged Seafood Products Antitrust Litig. (S.D. Cal.), Commercial and
  Industrial Indirect Purchaser Plaintiffs in In re Broiler Chicken Antitrust Litig. (N.D. Ill.)
  and one of the trial counsel in In re: Cathode Ray Tube (CRT) Antitrust Litig. (N.D.
  Cal.). Mr. Stewart recently served as one of the counsel who successfully
  obtained an injunction requiring the National Womens Soccer League to permit
  a 15 ½ year old womens soccer player to play in the NWSL despite a minimum
  age rule which would have blocked her participation in the league.


  Between 1981 and 1985, he worked for a major San Diego law firm and engaged
  in a general commercial litigation practice. Between 1985 and 1988, Mr. Stewart
  served as a trial attorney with the Antitrust Division of the United States
  Department of Justice. While at the Antitrust Division, Mr. Stewart participated in
  investigations and trials involving alleged criminal violations of the antitrust and
  related laws in waste hauling, movie exhibition, and government procurement
  and was lead trial counsel in the successful prosecution through trial of United
  States v. Saft America, Inc. (D.N.J.).


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  Since leaving government service, Mr. Stewart has served as Lead Counsel,
  Principal Counsel and/or Trial Counsel in numerous antitrust, consumer and
  securities cases, both class and non-class. He was Lead Trial Counsel in Knapp v.
  Ernst & Whinney (9th Cir. 1996), in which a plaintiffs’ verdict was returned in a
  Rule 10b-5 securities fraud class action, and Hall v. NCAA, (D. Kan.) in which
  Plaintiffs’ verdicts were returned for NCAA assistant coaches.


  Mr. Stewart has also served as Co-Lead Trial Counsel, Co-Lead Counsel, Trial
  Counsel or played an integral role in the following litigation:

        • In re Airline Ticket Commission Antitrust Litig. (D. Minn.)
        • In re Contact Lens Antitrust Litig. (M.D. Fla.)
        • In re Lifescan Consumer Litig. (N.D. Cal.)
        • Carbon Fiber Antitrust Litig. (C.D. Cal.)
        • In re Currency Conversion Litig. (S.D.N.Y.)
        • Schwartz v. Visa (Cal. Sup Ct.)
        • In re Polypropolene Carpet Antitrust Litigation (N.D. Ga.)
        • Shames v. Hertz Corp. (S.D. Cal.)
        • In re Broadcom Securities Litig. (C.D. Cal.)
        • In re: Cathode Ray Tube (CRT) Antitrust Litig. (N.D. Cal.)


                         Additional Background Information

  Education:
  • Juris Doctor
     o Hofstra University

  Court Admissions:
  • California Supreme Court
  • U.S. District Court for the District of California

  Recognitions:
  • Selected by Super Lawyers as a California “Super Lawyer” (2012 – 2018;
    2022)




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  FRANCES MAHONEY-MOSEDALE

  Ms. Mahoney-Mosedale became an associate of
  Gustafson Gluek PLLC in 2021 after clerking for the
  firm throughout law school.


  Ms. Mahoney-Mosedale represents individuals and
  small businesses on behalf of themselves and/or a
  class in the in the areas of consumer protection,
  product defect, and antitrust. Ms. Mahoney-
  Mosedale is actively involved in assisting to
  represent individuals on a pro bono basis through
  the Minnesota Federal Bar Associations Pro Se Project, which matches pro se
  litigants to pro bono clients. She is an active member of Minnesota Women
  Lawyers, the American Bar Association, Federal Bar Association, Minnesota State
  Bar Association, and the Lavender Bar Association.


  Ms. Mahoney-Mosedale has a Bachelor of Arts from Lewis & Clark college,
  graduating with a major in English and a minor in Gender Studies. Frances is also
  a graduate of the University of Minnesota Law School.


  Ms. Mahoney-Mosedale has worked on several cases in which Gustafson Gluek
  is, or has been appointed to leadership positions or been actively involved,
  including:


        • Deere & Company Repair Services Antitrust Litig. (N.D. Ill.)
        • Samaha, et al. v. City of Minneapolis, et al (D. Minn.)
        • Google Digital Publisher Antitrust Litig. (S.D. N.Y.)
        • Jones v. Varsity Brands, LLC (W.D. Tenn.)




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                         Additional Background Information

  Education:
  • Juris Doctor (2021)
     o University of Minnesota Law School
  •   Bachelor of Arts (2016)
       o Lewis and Clark College

  Court Admissions:
  • Minnesota Supreme Court
  • United States District Court for the District of MN




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  JASON S. KILENE

  Jason Kilene is a member of Gustafson Gluek PLLC.
  He is a graduate of the University of North Dakota
  (B.A. 1991) and a graduate of the University of North
  Dakota School of Law (J.D., with distinction, 1994).


  Mr. Kilene joined Gustafson Gluek in 2003 and
  became a member shortly thereafter. Prior to
  joining Gustafson Gluek, Mr. Kilene served as a law
  clerk to the Honorable Bruce M. Van Sickle, United
  States District Judge for the District of North Dakota.
  Following his clerkship, Mr. Kilene represented numerous clients in the areas of
  commercial and complex litigation. Since then, Mr. Kilene has continued his
  practice in the areas of antitrust, consumer protection and other complex
  litigation.


  Mr. Kilene is admitted to the Minnesota Bar, North Dakota Bar and is admitted to
  practice in the United States District Court for the District of Minnesota and the
  District of North Dakota. He is also a member of the Hennepin County,
  Minnesota, North Dakota, and Federal Bar Associations.


  Mr. Kilene currently represents individuals and businesses harmed by
  anticompetitive business practices. He was part of the trial team that
  successfully recovered damages suffered by his clients due to alleged defective
  software in In re J.D. Edwards World Solutions Company, (AAA) (trial counsel for
  plaintiffs Quantegy and Amherst). Mr. Kilene also plays a significant role in
  identification, investigation, initiation and development of complex class action
  matters, along with his significant involvement with client relations.

  Mr. Kilene has worked on several cases in which Gustafson Gluek is or had been
  appointed to leadership positions or been actively involved including:



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         • In re Automotive Parts Antitrust Litig. (E.D. Mich.)
         • In re Transpacific Passenger Air Transportation Antitrust Litig. (N.D. Cal.)
         • In re Domestic Drywall Antitrust Litig. (E.D. Pa.)
         • In re Payment Card Interchange Fee and Merchant Discount Litig. (E.D.N.Y.)
         • In re Broiler Chicken Antitrust Litig. (N.D. Ill.)
         • In re Domestic Drywall Antitrust Litig. (E.D. Penn.)
         • In re Lithium Ion Batteries Antitrust Litig. (N.D. Cal.)
         • In re Optical Disk Drive Antitrust Litig. (N.D. Cal.)


                            Additional Background Information

  Education:
  • Juris Doctor (1994)
     o University of North Dakota School of Law
       - with distinction
  •   Bachelor of Arts (2016)
       o University of North Dakota
  Court Admissions:
  • Minnesota Supreme Court
  •   United States District Court for the District of MN
  •   North Dakota Supreme Court
  •   United States District Court for the District of ND




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  JOE NELSON

  Mr. Nelson joined Gustafson Gluek PLLC as an
  associate in November 2022 after clerking for the
  Honorable Kate Menendez at the United States District
  Court for the District of Minnesota and the Honorable
  James B. Florey at the Minnesota Court of Appeals.


  Mr. Nelson will be practicing in the areas of antitrust,
  product defect, consumer protection and civil rights.
  He has already delved into constitutional issue for pro
  bono cases at Gustafson Gluek and has been
  investigating potential product defect cases.


  Mr. Nelson graduated cum lade from Mitchell-Hamline School of Law in 2019.
  While in law school, he served as an editor on the Mitchell-Hamline Law Review
  and volunteered with the Self-Help Clinic, which helps individuals represent
  themselves in court. He also clerked for a Twin Cities plaintiff’s employment law
  firm.


  Mr. Nelson is committed to the protection of civil rights, consumer safety, and
  fair competition.


                           Additional Background Information
  Education:
  •   Juris Doctor (2019)
       o Mitchell-Hamline School of Law
         • Editor: Minnesota Mitchell-Hamline Law Review

  •   Bachelor of Arts (2014)
       o Saint John’s University

  Court Admissions:
  •   Minnesota Supreme Court
  •   U.S. District Court for the District of Minnesota
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  JOSHUA J. RISSMAN

  Joshua Rissman joined Gustafson Gluek in 2010 as
  an associate and became a member of the Firm in
  2018. Since joining the Firm, Mr. Rissman has
  focused his practice on antitrust and class action
  litigation. Mr. Rissman prides himself on vigorously
  representing small businesses and individuals
  damaged by wrongful corporate and government
  conduct.


  In addition to his antitrust class action practice, Mr.
  Rissman has brought several pieces of important constitutional litigation
  involving mistreatment of juvenile detainees and police brutality. He currently
  represents a former juvenile detainee who alleges he was abused at the
  Minnesota Correctional Facility – Red Wing, and that the administration was
  aware of the risks to the juvenile and failed to protect him. Doe v. Hanson et al.
  (Minn.) Mr. Rissman was also the lead attorney in a section 1983 constitutional
  rights action brought on behalf of the family of a man killed by Brooklyn Center
  police officers in 2015. Khottavongsa v.
  City of Brooklyn Center (D. Minn.). Mr. Rissman is currently representing a class of
  protestors who were unlawfully subjected to tear gas and pepper spray in the
  protest following the George Floyd protest. Samaha, et al. v. City of
  Minneapolis, et al (D. Minn.).


  Mr. Rissman was selected a Minnesota Rising Star by Super Lawyers in the area of
  antitrust litigation (2014 – 2020) and was selected as a “Super Lawyer” in 2021.
  He is the Treasurer of the Antitrust Section of the Federal Bar Association, and
  counsel member of the Minnesota Bar Association Antitrust Section. Joshua also
  participates in the Pro Se Project, representing civil litigants in federal court who
  would otherwise go without representation.




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  Mr. Rissman has worked on several cases in which Gustafson Gluek is or had
  been appointed to leadership positions or been actively involved including:


      • In re Pork Antitrust Litig. (D. Minn.)

      • In re DPP Beef Antitrust Litig. (D. Minn.)

      • In re Containerboard Antitrust Litig. (N.D. Ill.)

      • In re Broiler Chicken Antitrust Litig. (N.D. Ill.)

      • In National Hockey League Players’ Concussion Injury Litig. (D. Minn.)

      • Precision Assocs., Inc. v. Panalpina World Transport (Holding) Ltd. (E.D.N.Y.)

      • In re Lithium Batteries Antitrust Litig. (N.D. Cal.)

      • In re Optical Disk Drives Litig. (N.D. Cal.)

      • In re Asacol Antitrust Litig. (D. Mass.)

      • In re Opana Antitrust Litig. (N.D. Ill.)

      • City of Wyoming et al. v. Procter & Gamble Company (D. Minn.)

                            Additional Background Information

  Education:
  • Juris Doctor (2010)
     o University of Minnesota School of Law
       - cum laude

  •   Bachelor of Arts (2005)
       o University of Minnesota
         - magna cum laude

  Court Admissions:
  • Minnesota Supreme Court
  • U.S. District Court for the District of Minnesota

  Recognition:
  • Selected by Super Lawyers as a Minnesota “Super Lawyer” (2021-2022)
  • Selected by Super Lawyers as a Minnesota “Rising Star” (2014 – 2020)




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  KAITLYN L. DENNIS

  Kaitlyn L. Dennis joined Gustafson Gluek PLLC as an
  associate in 2016. Since joining the Firm, Ms. Dennis
  has practiced in the areas of consumer protection,
  product liability, and antitrust litigation. In 2022, she
  was appointed to serve as Interim Co-Lead
  Counsel in the In re Deere Repair Services Antitrust
  Litigation, making her among the youngest
  attorneys ever appointed to serve as co-lead
  counsel in a nationwide class action.


  In addition to her regular practice, Ms. Dennis has assisted multiple pro se
  litigants through the Federal Bar Association’s Pro Se Project and is recognized
  as a North Star Lawyer for providing at least 50 hours of pro bono legal services in
  a calendar year. She was lead attorney in an arbitration trial alleging workplace
  discrimination on behalf of a pro bono client.


  She is an active member of the American Bar Association, Federal Bar
  Association, Minnesota Bar Association, Minnesota Women Lawyers, and is the
  Chair of the Young Lawyers Division of the Committee to Support the Antitrust
  Laws (“COSAL”). In 2022, Ms. Dennis was one of the primary authors of an amicus
  brief filed by COSAL in the ninth circuit in the Epic v. Apple appeal. She is also
  one of the authors contributing to the forthcoming Rule of Reason Handbook for
  the ABA Antitrust Section.


  Ms. Dennis is admitted to the Minnesota Bar and is admitted to practice in the
  United States District Court for the District of Minnesota.


  Prior to joining Gustafson Gluek, Ms. Dennis worked as a fellowship attorney at
  the Equal Employment Opportunity Commission and assisted the Honorable
  Arthur J. Boylan, ret., during the mediation of the bankruptcy of the Archdiocese
  of St. Paul and Minneapolis.

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  Ms. Dennis has worked on several cases in which Gustafson Gluek is or had been
  appointed to leadership positions or been actively involved including:


        • In re Deere & Company Repair Services. Antitrust Litig., (N.D. Ill.)
        • In re Crop Inputs Antitrust Litig. (E.D. Mo.)
        • In re Generic Pharmaceuticals Pricing Antitrust Litig. (E.D. Pa.)
        • Hogan v. Amazon.com (W.D. Wash.)
        • Reynolds v. FCA (E.D. Mich.)
        • In re Surescripts Antitrust Litig. (N.D. Ill.)
        • Wood Mountain Fish LLC v. Mowi ASA (S.D. Fla.) (Farmed Atlantic Salmon
          Indirect Purchaser Antitrust Litigation)
        • In re Interior Molded Doors Indirect Purchaser Antitrust Litig. (E.D. Va.)
        • In re Equifax, Inc. Customer Data Security Breach Litig. (N.D. Ga.)
        • FCA US LLC Monostable Electronic Gearshifts Litig. (E.D. Mich.)
        • Kjessler v. Zaappaaz, Inc. et al. (S.D. Tex.)
        • Fath v. American Honda Motor Co., Inc. (D. Minn.)
        • In re Automotive Parts Antitrust Litig. (E.D. Mich.)
        • In re Volkswagen “Clean Diesel” Marketing Sales Practices, and
          Products Liability Litig. (N.D. Cal.)


                           Additional Background Information

  Education:
  • Juris Doctor (2015)
     o University of Minnesota Law School
       - Dean’s List (2012-2015)
       - Managing Editor of MN Law Review
  • Bachelor of Arts (2010)
     o Southwestern University
  Court Admissions:
  • Minnesota Supreme Court
  • U.S. District Court for the District of Minnesota
  Recognition:
  • MSBA North Star Lawyer (2018-2021)



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  Publications:
  • Committee to Support the Antitrust Laws (COSAL) – Amicus Brief in Epic v.
    Apple (9th Cir. 2022)
  • ABA, Handbook on the Rule of Reason (1st. Ed.) (forthcoming)
  Speaking:
  • American Antitrust Association, Young Lawyer’s Breakfast (2019)
  • Minnesota Federal Bar Association, Pro Se Project and a Pint (2019)




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  KIRK HULETT


  Kirk Hulett joined Gustafson Gluek PLLC in 2019 and
  is located in the San Diego office. Mr. Hulett has
  been named a San Diego Top
  Rated Securities Lawyer by Super Lawyers Magazine
  each year since 2010.


  Mr. Hulett graduated from the University of
  California San Diego, where he obtained his undergraduate degree (1978). He
  then graduated cum laude from the University of San Diego School of Law (J.D.
  1983), where he was Managing Editor of the University of San Diego Law
  Reporter. Since 1984, Mr. Hulett has specialized in the representation of plaintiffs
  in securities, antitrust,
  employment and consumer class actions as well as representing individuals and
  businesses in complex litigation.


  Prior to co-founding Hulett Harper Stewart LLP in 2000, Mr. Hulett was a partner in
  the largest national class action firm in the country. He has testified before the
  California Assembly Business and Professions Committee on the topic of
  potential regulatory and auditor liability reforms following the Enron financial
  collapse and participated as a panelist on several occasions. He has been
  named a San Diego Top Rated Securities Lawyer by Super Lawyers Magazine
  each year since 2010. He is admitted to all of the District Courts in California,
  numerous other District Courts across the country by pro hac admission, the
  Ninth Circuit Court of Appeals and the United States Supreme Court. Mr. Hulett
  joined Gustafson Gluek as a member in 2019.


  Mr. Hulett has been Lead or Co-Lead Counsel in dozens of class actions
  throughout the country, including In re American Continental Corp./Lincoln
  Savings & Loan Securities Litig. (D. Ariz.); In re Media Vision Technology Securities
  Litig. (N.D. Cal.); Home Fed, (S.D. Cal.); and Gensia Pharmaceuticals, (S.D. Cal.).

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  He was Co-Lead trial counsel for a trustee in Guy F. Atkinson Co. v.
  PriceWaterhouse LLP, et al. (N.D. Cal.), a liability action against
  PriceWaterhouseCoopers, LLP, and represents several bankruptcy estates in seeking
  recovery against officers, directors and professionals.


  He also successfully represented defrauded individual investors in the Abbott et
  al. v. Worldcom Co. (S.D.N.Y). He was Co-Lead Counsel the securities class
  action, Enriquez v. Edward Jones & Co. L.P. (E.D. Mo.). Mr. Hulett also
  represented defrauded individual investors in Bachman et al. v. A.G. Edwards
  (Circuit Ct. of St. Louis) for breach of fiduciary duty. He represented an elderly
  individual in a Ponzi scheme case, Meyerhoff v.Gruttadaria, et al., (San Diego
  Superior Court) against one of Wall Street’s most prominent investment banks
  and was successful in obtaining a full recovery for the victim. He was Co- Lead
  Trial Counsel in Pauma Band of Luiseno Mission Tribe v. Harrah’s Operating Co.,
  et al. (San Diego Superior Court) on behalf of a San Diego area based Native
  American Tribe against Caesars Entertainment and Harrah’s. Mr. Hulett has most
  recently been involved in representing victims of an antitrust conspiracy among
  the three largest suppliers of canned tuna in the world in In Re Packaged
  Seafood Products Antitrust Litig. (S.D. Cal.).


                           Additional Background Information

  Education:
  • Juris Doctor (1983)
     o University of San Diego Law School

  •   Bachelor of Arts (1978)
       o University of California, San Diego
  Court Admissions:
  • California Supreme Court
  • U.S. District Court for the District of California
  • U.S. Court of Appeals for the Ninth Circuit
  • U.S. Supreme Court
  Recognition:
  • Selected by Super Lawyers as a California “Super Lawyer” (2010-2018;
    2020)



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  MARY NIKOLAI


  Mary Nikolai joined Gustafson Gluek PLLC as an
  associate in 2019, after clerking for the Honorable
  Luis Bartolomei, District Judge, Fourth Judicial
  District of Minnesota. Since joining the Firm, Ms.
  Nikolai has represented individuals and classes in
  asserting various consumer fraud and product
  defect claims. She has also represented a number
  of former members of the nationwide FLSA
  collective alleging off-the-clock work in arbitrations
  throughout the country.


  Ms. Nikolai is admitted to the Minnesota State Bar and the United States District
  Court for the District of Minnesota. She is also an active member of the Federal
  Bar Association and the Minnesota Women’s Lawyers.


  During law school, Ms. Nikolai clerked for two Twin Cities law firms and was a
  judicial extern for the Honorable Patrick Schiltz. She was also a Certified Student
  Attorney at the St. Thomas Interprofessional Center for Counseling and Legal
  Services, where she represented a family seeking asylum in the United States,
  which was ultimately granted. She also represented individuals at detained
  master calendar and bond hearings.


  Ms. Nikolai has worked on several cases in which Gustafson Gluek is or had been
  appointed to leadership positions or been actively involved including:

        • In re Gerber Products Company Heavy Metals Baby Food Litig. (E.D. Va.)
        • In re Nurture Baby Food Litig (S.D.N.Y)
        • In re Plum Baby Food Litig. (N.D. Cal.)
        • Castorina v. Bank of America, N.A. (E.D. Va.)


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         • Turner et al v. Chipotle Mexican Grill, Inc. (D. Colo.)
         • Reitman v. Champion Petfoods (C.D. Cal.)
         • Weaver v. Champion Petfoods (E.D. Wis.)
         • In re Big Heart Pet Brands Litig. (N.D. Cal.)
         • Krukas et al. v. AARP, Inc., et al. (D.D.C.)
         • Bhatia v. 3M Co. (D. Minn.)
         • Doe v. Hanson et al. (Minn.)
         • Hudock v. LG Electronics USA, Inc. (D. Minn.)
         • Brewster v. United States (D. Minn.)

                          Additional Background Information

  Education:
  • Juris Doctor (2018)
     o University of St. Thomas
       - Clinic Student of the Year (2017 -2018)
  •   Bachelor of Arts (2012)
       o DePaul University
  Court Admissions:
  • Minnesota Supreme Court
  • U.S. District Court for the District of Minnesota
  Recognition:
  • MSBA North Star Lawyer (2020)
  • MSBA North Star Lawyer (2021)




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  MICHELLE J. LOOBY


  Michelle J. Looby is a member of Gustafson Gluek
  PLLC. Ms. Looby joined Gustafson Gluek in 2008 and
  became a member in 2015. She co-chairs the
  Firm’s antitrust group.


  In the courtroom, Ms. Looby has served in
  leadership roles including as co-lead counsel, in
  numerous class actions. Outside the courtroom, Ms.
  Looby is actively involved in the legal community
  serving on the Advisory Board of the American Antitrust Institute, as the
  Immediate Past Chair and Diversity & Inclusion Liaison for the Minnesota State
  Bar Association’s Antitrust Section, and on the executive committee of the
  Coalition in Support of the Antitrust Laws. In addition, she is actively involved in
  the American Bar Association, Federal Bar Association, and Minnesota Women
  Lawyers, previously having served on its Board of Directors. Ms. Looby also
  served on Law360’s Competition Editorial Advisory Board, a leading daily legal
  news and intelligence service that reaches over one million recipients each day.


  Ms. Looby is admitted to the Minnesota Bar and is admitted to practice in the
  United States District Court for the District of Minnesota and the United State
  District Court for the District of North Dakota.


  Ms. Looby has worked on several cases in which Gustafson Gluek is or had been
  appointed to leadership positions or been actively involved including:

      • In re Crop Inputs (E.D. Mo.)
      • In re Interior Molded Doors Antitrust Litig. (E.D.V.A.)
      • In re DPP Beef Litig. (D. Minn.)
      • In re Dealer Management Systems Antitrust Litig. (N.D. Ill.)



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       • Precision Associates, Inc. et al. v. Panalpina World Transport (Holding), Ltd.,
         et al. (E.D.N.Y.)
       • Powell Prescription Center, et al. v. Surescripts, LLC et al. (N.D. Ill.)
       • In re CenturyLink Residential Customer Billing Disputes Litig. (D. Minn.)
       • In re Allura Fiber Cement Siding Products Liability Litig. (D.S.C.)
       • In re Broiler Chicken Antitrust Litig. (N.D. Ill.)
       • In re Pork Antitrust Litig. (D. Minn.)
       • In re Generic Pharmaceuticals Pricing Antitrust Litig. (E.D. Pa.)
       • In re Automotive Parts Antitrust Litig. (E.D. Mich.)
       • In re Opana ER Antitrust Litig. (N.D. Ill.)
       • In re Restatsis (Cyclosporine Opthalmic Emulsion) Antitrust Litig. (E.D.N.Y)
       • In re Asacol Antitrust Litig. (D. Mass.)
       • In re Celebrex (Celecoxib) Antitrust Litig. (E.D. Va.)


                            Additional Background Information

  Education:
  • Juris Doctor (2007)
    o William Mitchell College of Law
       - William Mitchell Law Review (2005-2007)
       - Assistant Editor (2006-2007)
          - Recipient of the CALI Excellence for the Future Award

  •   Bachelor of Arts (2004)
       o University of Minnesota
           - with distinction
  Court Admissions:
  • Minnesota Supreme Court
  • U.S. District Court for the District of Minnesota
  Recognition:
  • Selected by Super Lawyers as a Minnesota “Super Lawyer” (2021-2022)
  • Selected by Super Lawyers as a Minnesota “Rising Star” (2014 – 2020)
  • American Antitrust Institute Award for Outstanding Antitrust Litigation
    Achievement by a Young Lawyer (2015)
  • American Antitrust Institute Award for Outstanding Antitrust Litigation
    Achievement in Private Practice (2022)
  • Selected as an Attorney of the Year by Minnesota Lawyer (2023)



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  NOAH COZAD

  Mr. Cozad is an associate at Gustafson Gluek
  PLLC. Noah graduated from the University of
  Minnesota Law School and clerked for the
  Honorable Christian Sande of the Fourth Judicial
  District of Minnesota.


  Mr. Cozad joined Gustafson Gluek PLLC as an
  associate in December 2021 after serving as a
  law clerk to the Honorable Judge Christian
  Sande of the Fourth Judicial District of Minnesota. As an associate, Mr. Cozad will
  be representing those who are alleging antitrust, consumer protection,
  constitutional, and products liability violations. He is passionate about promoting
  fair competition and a more just economy.


  Mr. Cozad graduated from the University of Minnesota with a B.A. in Political
  Science and minors in German and Global Studies with an emphasis in Human
  Rights. While in law school, Mr. Cozad was the Note and Comment Editor for the
  Minnesota Journal of Law, Science, & Technology. He was also a trained third-
  party neutral with the Community Mediation Clinic where he helped members
  of the Twin Cities community overcome conflict and prevent litigation. He also
  clerked for a Twin Cities plaintiffs’ employment law firm and a Minnesota state
  agency. Before law school, Mr. Cozad did legislative and policy work in the
  United States Senate.


  Mr. Cozad has worked on several cases in which Gustafson Gluek is or had been
  appointed to leadership positions or been actively involved including:


        • In re Pork Antitrust Litig. (D. Minn.)
        • Jones v. Varsity Brands, LLC. (W.D. Tenn.)
        • Wood Mountain Fish LLC v. Mowi ASA (S.D. Fla.)


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         • In re Surescripts Antitrust Litig. (N.D. Ill.)
         • In re Cattle and Beef Antitrust Litig. (D. Minn.)


                            Additional Background Information

  Education:
  • Juris Doctor (2021)
     o University of Minnesota Law School
       - Note and Comment Editor: Minnesota Journal of Law, Science, & Technology
  •   Bachelor of Arts (2016)
       o University of Minnesota

  Court Admissions:
  • Minnesota Supreme Court
  • U.S. District Court for the District of Minnesota




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  SHASHI GOWDA

  Mr. Gowda is an associate at Gustafson
  Gluek PLLC. He graduated from the
  University of Minnesota Law School and
  clerked for the Honorable Christian Sande
  of the Fourth Judicial District of Minnesota.
  Mr. Gowda joined Gustafson Gluek as an
  associate in July of 2022


  As an associate, Mr. Gowda will be representing those who are alleging
  antitrust, consumer protection, constitutional, and products liability violations.


  Mr. Gowda graduated from Virginia Commonwealth University with a Bachelor
  of Science in Economics. He then went on to the University of Minnesota Law
  School, where he was a staffer and managing editor for the Minnesota Law
  Review. He was also a certified student attorney with the University of Minnesota
  Consumer Protection Clinic, where he helped guide clients through consumer
  protection claims.


  Mr. Gowda is an active member of the Minnesota State Bar Association, Federal
  Bar Association and Minnesota Pacific American Bar Association.


  Mr. Gowda has worked on several cases in which Gustafson Gluek is or had
  been appointed to leadership positions or been actively involved including:


        • Hogan v. Amazon, Inc. (N.D. Ill.)
        • Krukas et al. v. AARP, Inc., et al. (D.D.C.)
        • Reynolds, et al., v. FCA US, LLC (E.D. Mi.)
        • In re Nurture Baby Food Litig. (S.D.N.Y.)
        • In re Gerber Co. Heavy Metals Baby Food Litig. (E.D. Va.)
        • In re Plum Baby Food Litig. (N.D. Cal.)
        • Gorczynski v. Electrolux Home Products, Inc. (D.N.J.)

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                         Additional Background Information
  Education:
  •   Juris Doctor (2020)
       o University of Minnesota Law School
         • Managing Editor: Minnesota Law Review

  •   Bachelor of Science (2017)
       o Virginia Commonwealth University

  Court Admissions:
  •   Minnesota Supreme Court
  •   U.S. District Court for the District of Minnesota




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  TONY STAUBER

  Mr. Stauber joined Gustafson Gluek as an associate
  in 2021 after serving as a law clerk to the Honorable
  Caroline H. Lennon, District Judge, First Judicial
  District of Minnesota.


  As an associate at the Firm, Mr. Stauber represents
  individuals and businesses who are harmed by
  illegal collusion and price-fixing schemes between
  competitors, and violations of state and federal
  consumer protection statutes. Additionally, Mr.
  Stauber practices in the area of civil rights, where he has represented clients in
  high-profile cases involving police brutality and other constitutional violations. He
  is passionate about pursuing claims on behalf of clients who have been harmed
  by institutions of power – whether those are gigantic corporations or law
  enforcement agencies.


  Mr. Stauber is an active member of the Minnesota and Federal bar associations
  and is using his legal education to improve access to justice for all litigants. Mr.
  Stauber believes that all individuals and businesses deserve their day in court.
  Mr. Stauber graduated from the University of Minnesota with a B.A. in English
  Literature. He graduated magna cum laude from Mitchell Hamline School of
  Law. While in law school, Mr. Stauber was Vice President of the Mitchell Hamline
  Hovenkamp Antitrust Society, Membership Coordinator of the Mitchell Hamline
  Chapter of the American Civil Liberties Union, and a student researcher and
  member of the Mitchell Hamline Sex Offender Litigation and Research Center.
  Additionally, Tony was the Production Editor of the Mitchell Hamline Journal of
  Public Policy and Practice, where he was a published author of an article on the
  topic of qualified immunity.




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  Mr. Stauber has been an active member of the National Speech and Debate
  Association and the Minnesota State High School League as a speech and
  debate coach for ten years.


  Mr. Stauber has worked on several cases in which Gustafson Gluek is or had
  been appointed to leadership positions or been actively involved including:


         • In re Broiler Chicken Antitrust Litig. (N.D. Ill.)
         • In re Beef DPP Antitrust Litig. (N.D. Ill.)
         • In re Pork Antitrust Litig. (D. Minn.)
         • In re Local TV Advertising Antitrust Litig. (N.D. Ill.)
         • Karsjens v. Jesson (D. Minn.)
         • Samaha v. City of Minneapolis (D. Minn.)
         • Wolk v. City of Brooklyn Center (D. Minn.)
         • Baldwin v. Miracle Ear, Inc. (D. Minn.)
         • Brnich v. Siemens (N.D. Ga.)

                            Additional Background Information

  Education:
  • Juris Doctor
     o Mitchell Hamline School of Law
       - magna cum laude
        - Production Editor: Mitchell Hamline Journal
          of Public Policy and Practice

  •   Bachelor of Arts
       o University of Minnesota

  Court Admissions:
  • Minnesota Supreme Court
  • U.S. District Court for the District of Minnesota




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